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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7                                                         Case No. 20-cv-02345-WHO
                                           IN RE: JUUL LABS, INC., ANTITRUST
                                   8
                                                                                             ORDER ON MOTION COMPEL AND
                                           LITIGATION                                        MOTIONS TO DISMISS
                                   9

                                  10                                                         Dkt. Nos: 207, 209, 210, 211

                                  11

                                  12           There are four motions currently pending before me: (1) defendant Juul Labs, Inc.’s
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                                  13   (“JLI”) motion to compel arbitration or strike the class claims of the Direct Purchaser Plaintiffs

                                  14   (“DPPs”), Dkt. No. 210; (2) JLI’s motion to dismiss the consolidated class complaints of the

                                  15   DPPs, the Indirect Purchaser Plaintiffs (“IPPs”), and the Indirect Reseller Plaintiffs (“IRPs”), Dkt.

                                  16   No. 207; (3) defendants Altria Group, Inc. and Altria Enterprises, LLC’s (“Altria”) motion to

                                  17   dismiss the consolidated class complaints of the DPPs, IPPs, and IRPs; and (4) defendants

                                  18   Nicholas Pritzker and Riaz Valani’s (“Director Defendants”) motion to dismiss the DPP claims

                                  19   asserted against them. For the reasons discussed below, I GRANT JLI’s motion to compel the

                                  20   claims of the three named DPPs to arbitration, stay the dismissal of the DPPs’ claims against JLI

                                  21   for 30 days and give the DPPs leave to amend to substitute in a proposed plaintiff whose claims

                                  22   against JLI would not be subject to arbitration. On the remaining motions, I dismiss a limited set

                                  23   of claims but otherwise deny the motions to dismiss.

                                  24                                                 BACKGROUND

                                  25           Three sets of plaintiffs bring antitrust and related state law claims against Altria and JLI

                                  26   challenging the allegedly unlawful and anticompetitive agreement Altria entered into with JLI.1

                                  27

                                  28
                                       1
                                        The DPPs also allege federal antitrust claims against two of JLI’s Board of Directors, Nicholas
                                       Pritzker and Riaz Valani.
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                                   1   The heart of plaintiffs’ allegations, as those made by the Federal Trade Commission (“FTC”) in

                                   2   proceedings against JLI and Altria, is that Altria intentionally departed from the e-cigarette market

                                   3   (despite actively competing with JLI in that market) and joined forces with JLI under a non-

                                   4   compete agreement in order to gain access to and control over JLI’s market-leading product and

                                   5   technology. In return, JLI (and its major investors) received billions of dollars as well as access to

                                   6   Altria’s extensive distribution network, retail opportunities, and regulatory expertise.

                                   7           Altria is alleged to have started investigating investing in JLI in 2017. DPP Consolidated

                                   8   Class Action Complaint, Dkt. No. 134-3 (“DPP CAC”) ¶¶ 61, 62; IPP Consolidated Class Action

                                   9   Complaint, Dkt. No. 131-4 (“IPP CAC”) ¶ 13; IRP Consolidated Class Action Complaint, Dkt.

                                  10   No. 133-3 (“IRP CAC”) ¶ 13.2 Valani and Pritzker were crucial players on JLI’s side of the

                                  11   negotiations that spanned much of 2018, intensifying in the summer of 2018 and culminating in an

                                  12   agreement signed on December 20, 2018 whereby Altria acquired a 35% stake in JUUL for $12.8
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                                  13   billion. DPP CAC ¶¶ 8, 70, 74, 86; IPP CAC ¶¶ 14, 16, 77, 82, 84.

                                  14           Altria’s MarkTen Elite product (produced by Altria subsidiary Nu Mark) was its closest

                                  15   competitor to JUUL, and it had committed $100 million dollars to secure prime shelf-space for

                                  16   that product earlier in 2018. DPP CAC ¶ 3, 18, 125, 145; IPP CAC ¶ 7, 135. Plaintiffs allege that

                                  17   a key component of the JLI-Altria deal was that Altria leave the e-vaping market; they say that the

                                  18   JLI-Altria negotiations had stalled in the summer of 2018 over Altria’s refusal to commit to that

                                  19   non-compete. DPP CAC ¶¶ 79, 80, 82; IPP CAC ¶ 88. The negotiations were allegedly restarted

                                  20   by an October 5, 2018 email where Altria agreed “that it would not compete in a manner

                                  21   consistent with our previous discussions in the U.S. e-vapor market for any period” exclusive of

                                  22   the transaction period during which Altria would perform services for JLI. DPP CAC ¶¶ 7, 81;

                                  23   IPP CAC ¶¶ 3, 14, 88. Soon after that October 2018 commitment, Altria withdrew its MarkTen

                                  24   Elite product from the market. IPP CAC ¶¶ 7, 14.

                                  25           The alleged antitrust agreement (“Agreement”) is comprised of at least the October 2018

                                  26
                                  27
                                       2
                                  28     The allegations in the IPP and IRP Consolidated Class Action Complaints are practically
                                       identical but numbered differently.
                                                                                       2
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                                   1   commitment, the formalized “Relationship Agreement” from December 2018, and the “Amended

                                   2   Relationship Agreement” from January 2020. DPP CAC ¶¶ 81, 92, 95, 96, 104; IPP CAC ¶ 3.

                                   3   The Relationship Agreement’s Non-Compete provision, Article 3.1 of the Agreement, reads:

                                   4                  [Altria] shall not . . . directly or indirectly (1) own, manage, operate,
                                                      control, engage in or assist others in engaging in, the e-Vapor
                                   5                  business; (2) take actions with the purpose of preparing to engage in
                                                      the e-Vapor Business, including through engaging in or sponsoring
                                   6                  research and development activities; or (3) Beneficially Own any
                                                      equity interest in any Person, other than an aggregate of not more than
                                   7                  four and nine-tenths percent (4.9%) of the equity interests of any
                                                      Person which is publicly listed on a national stock exchange, that
                                   8                  engages directly or indirectly in the e-Vapor Business (other than (x)
                                                      as a result of [Altria’s] Beneficial Ownership of Shares or (y)
                                   9                  engagement in, or sponsorship of, research and development
                                                      activities not directed toward the e-Vapor Business and not
                                  10                  undertaken with the purpose of developing or commercializing
                                                      technology or products in the e-Vapor Business) . . . .
                                  11
                                                      Notwithstanding the foregoing, (x) the [Altria] and its Subsidiaries
                                  12                  and controlled Affiliates may engage in the business relating to (I) its
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 United States District Court




                                                      Green Smoke, MarkTen (or Solaris, which is the non-U.S. equivalent
                                  13                  brand of MarkTen) and MarkTen Elite brands, in each case, as such
                                                      business is presently conducted, subject to Section 4.1 of the Purchase
                                  14                  Agreement, and (II) for a period of sixty (60) days commencing on
                                                      the date of this Agreement, certain research and development
                                  15                  activities pursuant to existing agreements with third parties that are in
                                                      the process of being discontinued.
                                  16
                                       Article 3.2 further prohibited competition on an indirect basis with respect to any upstream
                                  17
                                       affiliates of Altria. IPP CAC ¶¶ 103-104; DPP CAC ¶ 95.
                                  18
                                              Altria described the scope of its Relationship Agreement with JLI in its Form 8-K, as
                                  19
                                       follows:
                                  20
                                                      The Relationship Agreement generally prohibits Altria from
                                  21                  competing, or otherwise acquiring an interest in an entity competing,
                                                      in the e-vapor business for a period of at least six years from Closing
                                  22                  [of the Transaction], extendable thereafter unless terminated by
                                                      Altria. If another person were to acquire 40% or more of Altria's
                                  23                  voting power, or 30% of Altria's voting power combined with
                                                      contractual control of a majority of Altria's board of directors, that
                                  24                  person would also be subject to certain non-compete obligations set
                                                      forth in the Relationship Agreement.
                                  25
                                       IPP CAC ¶ 16. Plaintiffs allege that these “provisions remained in effect in the Amended
                                  26
                                       Relationship Agreement” entered into by Altria and JLI in January 2020.
                                  27
                                              On April 1, 2020, the FTC filed an administrative complaint (“FTC Complaint”)
                                  28
                                                                                         3
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                                   1   challenging the lawfulness of both the agreements and the acquisition under Section 5 of the FTC

                                   2   Act (15 U.S.C. § 45), alleging that Altria and JLI’s conduct violated Section 1 of the Sherman Act

                                   3   and Section 7 of the Clayton Act. Federal Trade Comm’n v. Altria Group, Inc., et al., Dkt. No.

                                   4   9393 (F.T.C. April 1, 2020). The FTC contends that the defendants’ conduct was anticompetitive

                                   5   under the rule of reason analysis but does not allege a per se restraint, which all three sets of

                                   6   plaintiffs allege here. DPP CAC ¶ 166; IPP CAC ¶ 109; IRP CAC ¶ 106.

                                   7           Plaintiffs assert in three consolidated class complaints that the Agreements illegally

                                   8   restrained competition in the relevant market in violation of federal and state antitrust laws, unfair

                                   9   competition, and consumer protection laws. IPP CAC ¶¶ 19, 20; DPP ¶¶ 102, 106, 108. The three

                                  10   Direct Purchaser Plaintiffs are Anthony Martinez (a resident of the State of New York), Jessica

                                  11   McGee (a resident of the State of Minnesota), and Mallory Flannery (a resident of the State of

                                  12   Iowa). All allege that they purchased “Closed-System E-Vapor products, including devices and
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                                  13   pods, directly from JLI during the relevant period.” DPP CAC ¶¶ 13-15. No other details are

                                  14   provided regarding the dates or timeframes of their purchases. The DPPs allege three claims

                                  15   against three sets of defendants – JLI, Altria, and the Directors Valani and Pritzker – and seek

                                  16   damages and equitable relief for: (1) Restraint of Trade in Violation of Section 1 of the Sherman

                                  17   Act, 15 U.S.C. § 1 (against all defendants); (2) Restraint of Trade in Violation of Section 7 of the

                                  18   Clayton Act, 15 U.S.C. § 18 (against all defendants); and (3) Declaratory and Injunctive Relief for

                                  19   Violations of Section 1 of the Sherman Act and Section 7 of the Clayton Act, 15 U.S.C. § 26

                                  20   (against all defendants).3

                                  21           The Indirect Purchaser Plaintiffs are Kurt Doughty (a resident of Rhode Island), Allison

                                  22   Harrod (a resident of Florida), Daraka Larimore (a resident of Santa Barbara County, California),

                                  23   Adam Matschullat (a resident of San Diego County, California), Keith May (a resident of Florida),

                                  24   Dylan Pang (a resident of New York), and Kerry Walsh (a resident of Massachusetts). IPP CAC

                                  25   ¶¶ 26-32. All allege generally that they “purchased JUUL Closed-System E-Cigarettes indirectly

                                  26
                                  27   3
                                         Ten additional individual defendants were named in the DPP CAC, but they were dismissed by
                                  28   stipulation on January 15, 2021. Dkt. Nos. 197-206.

                                                                                          4
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                                   1   from various retail locations during the Class Period.” Id. The IPPs assert sixteen claims against

                                   2   defendants JLI and Altria: (1) Violation of Sections 1 and 3 of the Sherman Act, 15 U.S.C. §§ 1, 3

                                   3   (on behalf of the Nationwide Class for Injunctive Relief); (2) Violation of Section 2 of the

                                   4   Sherman Act - Monopolization, 15 U.S.C. § 2 (against JLI, on behalf of the Nationwide Class for

                                   5   Injunctive Relief); (3) Violation of Section 2 of the Sherman Act – Attempted Monopolization, 15

                                   6   U.S.C. § 2 (against JLI, on behalf of the Nationwide Class for Injunctive Relief); (4) Violation of

                                   7   Section 2 of the Sherman Act – Conspiracy to Monopolize, 15 U.S.C. § 2 (on behalf of the

                                   8   Nationwide Class for Injunctive Relief); (5) Violation of Section 7 of the Clayton Act, 15 U.S.C. §

                                   9   18 (on behalf of the Nationwide Class for Injunctive Relief); (6) Violation of California’s

                                  10   Cartwright Act, Cal. Bus. & Prof. Code § 16700, et seq. (on behalf of the Nationwide Class for

                                  11   Damages); (7) Violation of California’s Cartwright Act, Cal. Bus. & Prof. Code § 16700, et seq.

                                  12   (on behalf of the Cartwright Act Class for Damages); (8) Violation of California’s Cartwright Act,
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                                  13   Cal. Bus. & Prof. Code § 16700, et seq. (by plaintiffs Daraka Larimore and Adam Matschullat on

                                  14   behalf of the California Class for Damages); (9) Violations of California’s Unfair Competition

                                  15   Law, Cal. Bus. & Prof. Code § 17200, et seq. (the “UCL”) (on behalf of the Nationwide Class for

                                  16   Damages); (10) Violations of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §

                                  17   17200, et seq. (by plaintiffs Daraka Larimore and Adam Matschullat on behalf of the California

                                  18   Class for Damages); (11) Violation of the Florida Deceptive and Unfair Trade Practices Act, Fla.

                                  19   Stat. § 501.201(2), et seq. (by plaintiffs Allison Harrod and Keith May on behalf of the Florida

                                  20   Class for Damages); (12) Violation of Mass. Gen. Laws ch. 93A § 1, et seq. (by plaintiff Kerry

                                  21   Walsh on behalf of the Massachusetts Class for Damages); (13) Violation of Section 340 of New

                                  22   York General Business Law (by plaintiff Dylan Pang on behalf of the New York Class for

                                  23   Damages); (14) Violation of the Rhode Island Antitrust Act R.I. Gen. Laws § 6-36-1, et seq. (by

                                  24   plaintiff Kurt Doughty on behalf of the Rhode Island Class for Damages); (15) Violation of the

                                  25   Rhode Island Unfair Trade Practice and Consumer Protection Act, R.I. Gen. Laws § 6-13-1.1-1, et

                                  26   seq. (by plaintiff Kurt Doughty on behalf of the Rhode Island Class for Damages); and (16) Unjust

                                  27   Enrichment (by plaintiffs on behalf of each State Class for Damages).

                                  28          The Indirect Reseller Plaintiffs Sofijon, Inc. (“Sofijon”), Rose And Fifth, Inc. (“RFI”),
                                                                                        5
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                                   1   Napht, Inc. (“Napht”), B&C Retail, Inc. (“B&C”), and Irwindale Fuel Station, Inc. (“Irwindale

                                   2   Fuel Station”) are business headquartered in California. IRP Big Puffs Vapor Store (“Big Puffs”),

                                   3   is headquartered in Jamestown, New York, IRP Somerset Party Store Inc. (“Somerset Party

                                   4   Store”) is a Michigan corporation, and IRP Noor Baig, Inc. (“Noor Baig”) is a Florida corporation.

                                   5   The IRPs allege generally that they “purchased JLI’s closed-system e-cigarette products indirectly,

                                   6   for resale, during the Class Period, October 25, 2018 through the date on which Defendants’

                                   7   anticompetitive conduct ceases.” IRP CAC ¶¶ 23-30. The IRPs assert eleven claims against

                                   8   defendants JLI and Altria for: (1) Violation of Sections 1 and 3 of the Sherman Act, 15 U.S.C. §§

                                   9   1, 3 (on behalf of the Nationwide Class for Injunctive Relief); (2) Violation of Section 2 of the

                                  10   Sherman Act - Monopolization, 15 U.S.C. § 2 (against JLI, on behalf of the Nationwide Class for

                                  11   Injunctive Relief); (3) Violation of Section 2 of the Sherman Antitrust Act (15 U.S.C. § 2)

                                  12   (Attempted Monopolization Against JLI on behalf of the Nationwide Class for Injunctive Relief);
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                                  13   (4) Violation of Section 2 of the Sherman Antitrust Act (15 U.S.C. § 2) (Conspiracy to

                                  14   Monopolize) (on behalf of the Nationwide Class for Injunctive Relief); (5) Violation of Section 7

                                  15   of the Clayton Act (15 U.S.C. § 18); (6) Violation of California Antitrust Statutes (on behalf of the

                                  16   Nationwide Class, on behalf of the Cartwright Act Class and by plaintiffs Sofijon, Rose And Fifth,

                                  17   Inc., B&C, Napht, Irwindale Fuel Station on behalf of the California State Class for Damages); (7)

                                  18   Violation of California’s Unfair Competition Law, Cal. Bus.& Prof. Code § 17200, et seq. (on

                                  19   behalf of the Nationwide Class and by plaintiffs Sofijon, Rose And Fifth, Inc., B&C, Napht,

                                  20   Irwindale Fuel Station on behalf of California State Class); (8) Violation of the Florida Deceptive

                                  21   and Unfair Trade Practices Act (by Noor Baig on behalf of the Florida Class); (9) Violation of the

                                  22   Michigan Antitrust Reform Act (Mich. Comp. Laws § 445.771, et seq.) (by Somerset Party Store

                                  23   on behalf of the Michigan Class); (10) Violation of Section 340 of New York General Business

                                  24   Law (by Big Puff on behalf of the New York Class); and (11) Unjust Enrichment (on behalf of

                                  25   each State Class for Damages).

                                  26          Defendants move to dismiss the class claims asserted by the IPPs, the IRPs, and the DPPs.

                                  27   Dkt. Nos. 207 (“Altria MTD”), 209 (“Director MTD”), 211 (“JLI MTD”). JLI also moves to

                                  28   compel to arbitration or strike the class claims asserted by the DPPs due to the arbitration
                                                                                         6
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                                   1   provision and class action waiver contained in JLI’s terms and conditions displayed on JLI’s

                                   2   website. Dkt. No. 210 (“MTC”).

                                   3                                               DISCUSSION

                                   4   I.       JLI’S MOTION TO COMPEL ARBITRATION OR STRIKE DPP CLASS
                                                ALLEGATIONS
                                   5
                                                JLI moves to compel arbitration and in the alternative to strike the class claims of plaintiffs
                                   6
                                       Martinez, McGee, and Flannery. When those plaintiffs created their accounts, the JLI website
                                   7
                                       through which they made their direct purchases required them to agree to arbitration and to waive
                                   8
                                       their right to pursue class claims. I agree that the plaintiffs gave constructive assent to these
                                   9
                                       provisions through the hyperlinked Terms and Conditions to which they agreed.
                                  10
                                                A.     Background
                                  11
                                                JLI asserts that during the timeframe each of the three DPPs created their JLI accounts on
                                  12
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                                       www.juul.com to purchase JLI’s products – between August 2018 and July 2019 – the DPPs were
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                                  13
                                       required to affirmatively check a box (“clickbox”) on each version of the “Log In/Sign Up” page
                                  14
                                       they were presented, establishing their assent to the hyperlinked Terms and Conditions that
                                  15
                                       governed the terms of plaintiffs’ access to and use of the site and their agreement to arbitrate
                                  16
                                       claims and waive a right to pursue a class action. See Declaration of Eadon Jacobs (Jacobs Decl.,
                                  17
                                       Dkt. No. 210-1), Exs. 4-8 (screen shots of Log In/Sign Up pages from August 2018 and February
                                  18
                                       2019, the “Create Your Account” page on July 19, 2019, the “Welcome Back” screen from July
                                  19
                                       31, 2019, and the Log In/Sign Up page from July 2019); Exs. 10-12 (JLI’s website Terms and
                                  20
                                       Conditions as they existed: (i) between June 29, 2017 and July 17, 2019; (ii) between July 17,
                                  21
                                       2019 and November 26, 2019, and (iii) from January 13, 2020 to date).4 JLI’s Senior Director of
                                  22
                                       Product, Identity Verification & Ecommerce, Eadon Jacobs, states that “[s]ince at least August
                                  23
                                       2018,” the clickbox was added and made it impossible for a user to create an account and use the
                                  24

                                  25   4
                                         JLI declares that: (i) Martinez created his account on August 26, 2018 and made purchases
                                  26   through March 13, 2020; (ii) Flannery created her account on February 26, 2019 and made a
                                       purchase only on that date; and (iii) McGee created her account on July 19, 2019 and made a
                                  27   purchase only on that date. Declaration of Eadon Jacobs in Support of Motion to Compel
                                       Arbitration or Strike Class Allegations (Jacobs Decl., Dkt. No. 210-1) ¶ 3 & Exs. 1-3. Plaintiffs
                                  28   do not contest those dates.

                                                                                           7
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                                   1   website unless they affirmatively checked their agreement to the Terms and Conditions and

                                   2   Privacy Policy. Jacobs Decl. ¶ 4. In his second declaration, submitted with JLI’s reply, Jacobs

                                   3   provides a more specific date based on his efforts to confirm that as of August 9, 2018, before the

                                   4   date Martinez created his account on August 26, 2018, the clickbox requirement was in place.

                                   5   Declaration of Eadon Jacobs in Support of Reply (Jacobs Reply Decl., Dkt. No. 236-1), ¶¶ 3-6.

                                   6           JLI shows that access to the Terms and Conditions was readily available during account

                                   7   creation. The required clickbox was followed by this language: “By registering with JUUL Labs,

                                   8   Inc. you agree to our Terms and Conditions and Privacy Policy.” Jacobs Decl., Exs. 4-6.5 By

                                   9   clicking on the underlined terms, the individual would be taken to the Terms and Conditions or

                                  10   Privacy Policy. JLI notes that on July 31, 2019, when Martinez signed in to make a purchase, he

                                  11   would have seen either the “Log In/Sign Up” screen or the “Welcome Back” screen where the Log

                                  12   In/Sign Up screen also required the user to “check” the disclosure box, but the Welcome Back
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                                  13   screen simply reminded users that by registering they agree to the hyperlinked Terms and

                                  14   Conditions. Jacobs Ex. 7 & ¶ 7. When Martinez logged back in on February 27, 2020, he would

                                  15   have seen a “Welcome Back” sign in page that did not require a clickbox to proceed but disclosed,

                                  16   “By proceeding, you agree to our Terms and Conditions and Privacy Policy.” Jacobs Decl., Ex.

                                  17   9.

                                  18           While the Terms and Conditions varied over time, JLI declares that the arbitration and

                                  19   class action wavier provisions at issue here remained constant. Prior to 2020, the provisions

                                  20   provided:

                                  21                  GOVERNING LAW, VENUE, AND CLASS ACTION /JURY
                                                      TRIAL WAIVER
                                  22
                                                      [* * *]
                                  23
                                                      Arbitration. Read this section carefully because it requires the parties
                                  24                  to arbitrate their disputes and limits the manner in which you can seek
                                                      relief from JUUL Labs. For any dispute with JUUL Labs, you agree
                                  25                  to first contact us via email and attempt to resolve the dispute with us
                                  26
                                  27
                                       5
                                        In each of the account creation pages presented to the three named plaintiffs, the “clickbox”
                                       disclosure sentence had the specific and hyperlinked words “Terms and Conditions” and “Privacy
                                  28   Policy” either underlined or presented in a different color font from the other words in the
                                       disclosure sentence.
                                                                                         8
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                                                      informally. In the unlikely event that JUUL Labs has not been able to
                                   1                  resolve a dispute it has with you after sixty (60) days, we each agree
                                                      to resolve any claim, dispute, or controversy (excluding any claims
                                   2                  for injunctive or other equitable relief as provided below) arising out
                                                      of or in connection with or relating to these Terms, or the breach or
                                   3                  alleged breach thereof (collectively, “Claims”), by binding arbitration
                                                      by JAMS, under the Optional Expedited Arbitration Procedures then
                                   4                  in effect for JAMS . . . . Nothing in this Section shall be deemed as
                                                      preventing JUUL Labs from seeking injunctive or other equitable
                                   5                  relief from the courts as necessary to prevent the actual or threatened
                                                      infringement, misappropriation, or violation of our data security,
                                   6                  Intellectual Property Rights or other proprietary rights.
                                   7                  Class Action/Jury Trial Waiver. With respect to all persons and
                                                      entities, regardless of whether they have obtained or used the Website
                                   8                  or JUUL Labs Products or services for personal, commercial or other
                                                      purposes, all claims must be brought in the parties’ individual
                                   9                  capacity, and not as a plaintiff or class member in any purported class
                                                      action, collective action, private attorney general action or other
                                  10                  representative proceeding. This waiver applies to class arbitration,
                                                      and, unless we agree otherwise, the arbitrator may not consolidate
                                  11                  more than one person’s claims. You agree that, by entering into this
                                                      agreement, you and JUUL Labs are each waiving the right to a trial
                                  12                  by jury or to participate in a class action, collective action, private
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                                                      attorney general action, or other representative proceeding of any
                                  13                  kind.
                                  14   Id. These Terms and Conditions were governed by California law. When Martinez accessed his

                                  15   account in February and March 2020, the provisions expressly included that covered claims

                                  16   included those related to the “purchase or use of JUUL Products” and changed governing law to

                                  17   Delaware. Jacobs Decl., Ex. 12.

                                  18          In all of the versions of the Terms and Conditions, the arbitration agreement and class

                                  19   action waiver provisions were emphasized in a notice at the top of the page:

                                  20                  GENERAL STATEMENT / WEBSITE TERM OF USE:
                                  21                  JUUL Labs has adopted these Terms of Service to inform you of your
                                                      rights and obligations when using the Website and/or when
                                  22                  purchasing any JUUL Labs products or goods . . . . Your use of this
                                                      Website, and/or your purchase of any Products constitutes your
                                  23                  agreement to the following Terms of Service. If you do not agree to
                                                      these Terms of Service you may not use the Website or purchase our
                                  24                  Products from the websites.
                                  25                  JUUL Labs may, and reserves the right, to from time to time modify,
                                                      limit, change, discontinue, or replace the website and these Terms of
                                  26                  Service at any time. In the event JUUL Labs modifies, limits,
                                                      changes, or replaces the website or these Terms of Service, your
                                  27                  continued use thereafter constitutes your agreement to such
                                                      modification, limitation, change, or replacement.
                                  28
                                                                                        9
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                                                      It is your responsibility to review these Terms of Service on a regular
                                   1                  basis to keep yourself informed of any modifications, limitations,
                                                      changes, or replacements.
                                   2
                                                      ***
                                   3
                                                      Please read these Terms of Service carefully to ensure that you
                                   4                  understand each provision. These Terms contain a mandatory
                                                      individual arbitration and class action/jury trial waiver provision that
                                   5                  requires the use of arbitration on an individual basis to resolve
                                                      disputes, rather than jury trials or class actions.
                                   6
                                       Id., Ex. 10; see also id., Exs. 11-12 (materially identical).
                                   7
                                              Plaintiffs each state in declarations in support of their Opposition to the Motion to Compel
                                   8
                                       that they do not recall seeing any disclosure of JLI’s Terms and Conditions or that they saw a
                                   9
                                       hyperlink to the Terms and Conditions on the JLI website when they created their accounts, and
                                  10
                                       that they do not recall clicking or checking a box next to any disclosure of the Terms and
                                  11
                                       Conditions. Declaration of Plaintiff Anthony Martinez (Martinez Decl., Dkt. No. 229-115) ¶ 4;
                                  12
Northern District of California




                                       Declaration of Plaintiff Mallory Flannery (Flannery Decl., Dkt. No. 229-16) ¶ 4; Declaration of
 United States District Court




                                  13
                                       Plaintiff Jessica McGee (McGee Decl., Dkt. No. 229-17) ¶ 4. They likewise declare that they “do
                                  14
                                       not believe that [they] agreed to arbitration or to waive [their] right to proceed with a class action”
                                  15
                                       and they “did not read or understand the Terms and Conditions.” Martinez Decl. ¶ 8; Flannery
                                  16
                                       Decl. ¶ 6; McGee Decl. ¶ 7.
                                  17
                                              In a prior related case, I addressed the enforceability of JLI’s arbitration agreement as of
                                  18
                                       August 2018. Colgate v. JUUL Labs, Inc., 402 F. Supp. 3d 728 (N.D. Cal. 2019). Considering an
                                  19
                                       “early sign-up” screen that did not have a mandatory “clickwrap” clickbox and where the Terms
                                  20
                                       and Condition disclosure below the “sign up button” was not presented in “a different color,
                                  21
                                       underlined, italicized, or in any way visually distinct from the surrounding text,” I concluded that
                                  22
                                       the Terms and Conditions disclosure was “not conspicuous enough to put” plaintiffs on notice. Id.
                                  23
                                       at 764-65. Addressing the “later sign-up” page, I concluded that the addition of putting the
                                  24
                                       hyperlinks in a different color was “without more” still not enough. Id. at 765–66 (distinguishing
                                  25
                                       JLI’s cases finding sufficient disclosure where hyperlinked terms were “underlined, highlighted, in
                                  26
                                       all caps, or in a box,” and noting that on the JLI later sign-in page the hyperlink to the password
                                  27
                                       recovery page was displayed much differently, having been bolded, underlined, and in a larger
                                  28
                                                                                          10
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                                   1   font size than” the Terms and Conditions hyperlink). The facts here are different.

                                   2          B.      Legal Standard
                                   3          “The FAA, 9 U.S.C. § 1 et seq., requires federal district courts to stay judicial proceedings

                                   4   and compel arbitration of claims covered by a written and enforceable arbitration agreement. []

                                   5   The FAA limits the district court's role to determining whether a valid arbitration agreement

                                   6   exists, and whether the agreement encompasses the disputes at issue.” Nguyen v. Barnes & Noble

                                   7   Inc., 763 F.3d 1171, 1175 (9th Cir. 2014). To determine whether a valid arbitration agreement

                                   8   exists, federal courts apply ordinary state law governing the formation of contracts, and federal

                                   9   courts sitting in diversity “look to the law of the forum state” when making choice of law

                                  10   determinations. Id.

                                  11          The internet has “not fundamentally changed the requirement that mutual manifestation of

                                  12   assent, whether by written or spoken word or by conduct, is the touchstone of contract.” Id., 763
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                                  13   F.3d at 1175; see also Long v. Provide Commerce, Inc., 245 Cal.App.4th 855, 862 (2016) (relying

                                  14   on Nguyen and describing this as a “pure question of law”). Mutual assent does not require that

                                  15   the consumer have actual notice of the terms of an arbitration agreement. Id. at 863. Instead, a

                                  16   consumer is bound by an arbitration clause if “a reasonably prudent Internet consumer” would be

                                  17   put on “inquiry notice” of the “agreement’s existence and contents.” Id.

                                  18          “Contracts formed on the Internet come primarily in two flavors: ‘clickwrap’ (or ‘click-

                                  19   through’) agreements, in which website users are required to click on an ‘I agree’ box after being

                                  20   presented with a list of terms and conditions of use; and ‘browsewrap’ agreements, where a

                                  21   website’s terms and conditions of use are generally posted on the website via a hyperlink at the

                                  22   bottom of the screen.” Nguyen, 763 F.3d at 1175–76. As the Nguyen court explained, unlike a

                                  23   clickwrap agreement, a browsewrap agreement does not require the user to manifest assent to the

                                  24   terms and conditions expressly and a party may give “assent” simply by using the website. Id.

                                  25   (citations omitted). Therefore, a “defining feature” of browsewrap agreements is that the user can

                                  26   continue to use the website or its services without visiting the page hosting the browsewrap

                                  27   agreement or even knowing it exists. Id at 1176 (citing Be In, Inc. v. Google Inc., No. 12–CV–

                                  28   03373–LHK, 2013 WL 5568706, at *6 (N.D. Cal. Oct. 9, 2013)). In those pure browsewrap cases,
                                                                                        11
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                                   1   the enforceability of the contract depends on whether “the user has actual or constructive

                                   2   knowledge of a website's terms and conditions.” Id. (citation omitted).

                                   3          “Whether a user has inquiry notice of a browsewrap agreement, in turn, depends on the

                                   4   design and content of the website and the agreement’s webpage. [] Where the link to a website's

                                   5   terms of use is buried at the bottom of the page or tucked away in obscure corners of the website

                                   6   where users are unlikely to see it, courts have refused to enforce the browsewrap agreement.” Id.

                                   7   at 1177 (citations omitted). However, courts have “been more willing to find the requisite notice

                                   8   for constructive assent where the browsewrap agreement resembles a clickwrap agreement—that

                                   9   is, where the user is required to affirmatively acknowledge the agreement before proceeding with

                                  10   use of the website.” Id. at 1176. This type of agreement has been characterized as a third

                                  11   category, as a “sign-in wrap” agreement and is regarded as a “blend” or “hybrid” of the two. Snow

                                  12   v. Eventbrite, Inc., 3:20-CV-03698-WHO, 2020 WL 6135990, at *4 (N.D. Cal. Oct. 19, 2020);
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                                  13   Colgate v. JUUL Labs, Inc., 402 F. Supp. 3d 728, 763 (N.D. Cal. 2019); see also Meyer v. Uber

                                  14   Techs., Inc., 868 F.3d 66, 75–76 (2d Cir. 2017) (collecting cases analyzing sign-in wrap

                                  15   agreements).

                                  16          Sign-in wrap agreements occur when “a website notifies the user of the existence of the

                                  17   website’s terms of use and, instead of providing an ‘I agree’ button, advises the user that he or she

                                  18   is agreeing to the terms of service when registering or signing up.” Peter v. DoorDash, Inc., 445 F.

                                  19   Supp. 3d 580, 585 (N.D. Cal. 2020) (internal quotation marks and alterations omitted); see also

                                  20   Zaltz v. JDATE, 952 F. Supp. 2d 439, 451 (E.D.N.Y. 2013) (enforcing agreement where “in order

                                  21   to have obtained a JDate.com account, and in order to have maintained that account through

                                  22   various billing cycles, plaintiff clicked the box confirming that she had both read and agreed to the

                                  23   website's Terms and Conditions of Service (which included the California forum selection clause),

                                  24   even though she does not recall the specific terms at this time.”); Fteja v. Facebook, Inc., 841 F.

                                  25   Supp. 2d 829, 838-39, 841 (S.D.N.Y. 2012) (“the Court concludes that Fteja assented to the Terms

                                  26   of Use and therefore to the forum selection clause therein” although the system did not “contain

                                  27   any mechanism that forces the user to actually examine the terms before assenting”).

                                  28          Each of the plaintiffs here accessed JLI’s website through this third, sign-in wrap type of
                                                                                        12
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                                   1   agreement.6

                                   2           C.     Enforceability
                                   3                  1.      Colgate Decision, Estoppel, and Evidence of Sign-In Process
                                   4           Plaintiffs contend that in light of my determination in the Colgate case, JLI is estopped

                                   5   from enforcing the arbitration provision against plaintiffs that created an account at least before

                                   6   August 4, 2018 using the same Log In pages I determined were unenforceable in Colgate. I agree.

                                   7   However, JLI has presented evidence that by the time each of the DPPs created their accounts on

                                   8   JLI’s website, the design had been modified to include the clickbox. Jacobs Reply Decl. ¶¶ 5-8.

                                   9   Absent a direct purchaser class representative who created an account on or before August 4,

                                  10   2018, I need not address the impact of the pre-August 9, 2018 account creation page.

                                  11           Plaintiffs’ attack on the sufficiency of the evidence regarding the different screen shots of

                                  12   the Log In/Sign Up pages proffered by JLI as existing on the dates each named plaintiff created
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                                  13   their account (August 26, 2018 [Martinez], February 26, 2019 [Flannery], July 19, 2019

                                  14   [McGee]), is unpersuasive. At a minimum, the Jacobs Reply Declaration explaining how he

                                  15   ascertained the presence of the affirmative clickbox on each of those dates is sufficient. Jacobs

                                  16   Reply Decl. ¶¶ 5-8. While plaintiffs note that they were unable to pull from the Wayback

                                  17   Machine screen shots from JLI’s Log In/Sign Up pages on each of the specific dates each plaintiff

                                  18   created their account, they and defendants have identified screen shots from immediately around

                                  19   those dates. While there could be some differences (other than noted below) between how the text

                                  20   immediately adjacent to the affirmative clickbox appeared, plaintiffs have not identified Wayback

                                  21   Machine screen shots from the relative time periods showing anything materially different from

                                  22   the screen shots proffered by JLI on this motion.

                                  23           JLI’s evidence, as supplemented by Jacobs’ Reply Declaration, is not like the evidence I

                                  24   found insufficient in Snow v. Eventbrite, Inc., 3:20-CV-03698-WHO, 2020 WL 6135990, at *5

                                  25   (N.D. Cal. Oct. 19, 2020). There, the defendant’s approach to its motion to compel was to

                                  26   “include one image of the sign-in wrap agreement as it existed in January 2016 and one as it exists

                                  27
                                       6
                                  28    Plaintiffs do not dispute that the class action waiver provision rises and falls with the
                                       enforceability of the arbitration provision.
                                                                                         13
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                                   1   today.” Id. at *5. Defendant merely stated that its images were “exemplary” of how the messages

                                   2   appeared from 2016 to the present and that their layout was “substantially identical” (a

                                   3   representation that later proved to be untrue). Id. The major problem I identified was that

                                   4   defendant did not “state the date when the website first adopted its present appearance” and did

                                   5   not say (with exceptions) which images “each plaintiff would have encountered on the date of his

                                   6   or her use of the platform,” or look to the underlying code it used. Id. Here, that information is

                                   7   provided by the Jacobs’ declarations and the appearance of the three relevant Log In/Sign Up

                                   8   pages supported by the Wayback Machine searches performed by plaintiffs.

                                   9                  2.      Enforceability
                                  10           JLI does not dispute each DPPs’ testimony that she or he did not have actual knowledge of

                                  11   the Terms and Conditions, much less the included arbitration and class action waiver provisions.7

                                  12   Actual knowledge, however, is not determinative. The relevant question is whether the addition of
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                                  13   the affirmative assent clickbox in combination with the placement and design of the following

                                  14   disclosure containing the hyperlinks to the Terms and Conditions (and Privacy Policy) were

                                  15   sufficient to establish objective constructive assent.

                                  16           JLI argues that by requiring the affirmative assent to the clickbox with the Term and

                                  17   Conditions hyperlinked in text immediately following the box, it used a “clickwrap-like”

                                  18   agreement, also known as a sign-in wrap agreement. It points to numerous cases enforcing similar

                                  19   sign-in wrap agreements where the hyperlinked Terms and Conditions are sufficiently disclosed.

                                  20   See, e.g., In re Facebook Biometric Info. Priv. Litig., 185 F. Supp. 3d 1155, 1165-66 (N.D. Cal.

                                  21   2016) (recognizing “our Circuit has recognized that the closer digital agreements are to the

                                  22   clickwrap end of the spectrum, the more often they have been upheld as valid and enforceable”

                                  23

                                  24
                                       7
                                         The declarations of Flannery and McGee – who both created their accounts on their iPhone – that
                                       they do not recall whether the “disclosure was hidden under her keyboard as she typed her email
                                  25   address and password on her iPhone” is irrelevant where each had to affirmatively check the box
                                       next to the disclosure before creating the accounts. Compare Jacobs Reply Decl. ¶¶ 5-8. with
                                  26   Flannery Decl. ¶ 4; McGee Decl. ¶ 4. That they did not recall doing so or seeing any disclosure
                                       regarding Terms and Conditions is irrelevant as long as defendant has sufficient evidence that the
                                  27   disclosures were in fact available. Lee v. Ticketmaster L.L.C., 817 Fed. Appx. 393, 395 (9th Cir.
                                       2020) (unpublished) (noting plaintiffs cannot avoid the terms of online contract on the grounds
                                  28   they “failed to read it before signing,” where they had a “legitimate opportunity to review it.”
                                       (internal quotations and citations omitted)).
                                                                                         14
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                                   1   and enforcing process that “fell toward the browsewrap end of the spectrum” where “terms of use

                                   2   were available via a hyperlink to a different page and not presented immediately to plaintiffs for

                                   3   review” but contained “a typical clickwrap feature” requiring plaintiffs to “click a box separately

                                   4   affirming that they had read and agreed to the Terms of Use,” and where “these boxes were

                                   5   separate from, and in addition to, the “Register Now!” or “Sign Up” button that needed to be

                                   6   pressed to complete the entire process.”); Holl v. United Parcel Serv., Inc., No. 16-CV-05856,

                                   7   2017 WL 11520143, at *5 (N.D. Cal. Sept. 18, 2017) (compelling arbitration where enrollment

                                   8   “requires clicking a checkbox” to assent to terms including an arbitration agreement); La Force v.

                                   9   GoSmith, Inc., 17-CV-05101-YGR, 2017 WL 9938681, at *4 (N.D. Cal. Dec. 12, 2017)

                                  10   (enforcing arbitration agreement where webpage “used to register contained a check box for

                                  11   indicating agreement to the Terms of Use”); see also Snow v. Eventbrite, Inc., 3:20-CV-03698-

                                  12   WHO, 2020 WL 6135990, at *7 (N.D. Cal. Oct. 19, 2020) (finding adequate disclosure of
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                                  13   arbitration agreement where “the ‘I accept the terms of service’ is directly above that Pay Now

                                  14   button, meaning that Snow had to scroll past it to press the button. It was also positioned close to

                                  15   the button. The words ‘terms of service’ appear as a hyperlink to the TOS itself. That hyperlink is

                                  16   blue, while the text around it is gray. There is nothing about the text that would make it

                                  17   inconspicuous or non-obvious. As courts have held with respect to similar messages, a reasonably

                                  18   prudent user would be placed on inquiry notice by this particular sign-in wrap agreement.”).

                                  19          JLI also relies on a series of cases where arbitration provisions in terms and conditions

                                  20   were enforced absent a clickbox denoting agreement to the term conditions, where the hyperlinked

                                  21   text was conspicuous, appeared in close proximity to “sign up” buttons, and consumers were

                                  22   warned that by proceeding to use the website, the user was agreeing to those hyperlinked terms

                                  23   and conditions. See, e.g., Dohrmann v. Intuit, Inc., 823 Fed. Appx. 482, 484 (9th Cir. 2020)

                                  24   (unpublished) (finding sufficient a “browsewrap” agreement that did not have a separate clickbox

                                  25   to agree to terms and conditions, but instead contained a disclosure below the sign in button

                                  26   warning users that by “clicking sign in” they were agreeing to terms of use where the “relevant

                                  27   warning language and hyperlink to the Terms of Use were conspicuous – they were the only text

                                  28   on the webpage in italics, were located directly below the sign-in button, and the sign-in page was
                                                                                        15
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                                   1   relatively uncluttered.”); Lee v. Ticketmaster L.L.C., 817 Fed. Appx. 393, 394-95 (9th Cir. 2020)

                                   2   (unpublished) (“Although the Terms do not constitute a true pure-form clickwrap agreement as

                                   3   California courts have construed it (because Ticketmaster does not require users to click a separate

                                   4   box indicating that they agree to its Terms), Ticketmaster’s website provided sufficient notice for

                                   5   constructive assent” where each time plaintiff clicked the “Sign In” and “Place Order” buttons

                                   6   plaintiff was conspicuously warned by proceeding he agreed to the Terms of Use that was

                                   7   displayed in blue font and contained a hyperlink to the terms); Allen v. Shutterfly, Inc., 20-CV-

                                   8   02448-BLF, 2020 WL 5517172, at *3 (N.D. Cal. Sept. 14, 2020) (enforcing where customers were

                                   9   provided with a link to the “Terms and Conditions” above the “Submit Payment” button at

                                  10   checkout and the disclosure acknowledged that “by clicking ‘Submit Payment’ [the purchaser]

                                  11   agree[s] to the Privacy Statement and Terms of Service[.]”); Peter v. DoorDash, Inc., 445 F. Supp.

                                  12   3d 580, 582 (N.D. Cal. 2020) (JST) (“To complete the process and place an order, they clicked a
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                                  13   ‘Sign Up’ button below this information. [] Directly below that button was a statement reading:

                                  14   ‘By tapping Sign Up, Continue with Facebook, or Continue with Google, you agree to our Terms

                                  15   and Conditions and Privacy Statement.’ [] The words “Terms and Conditions” appeared in blue

                                  16   text and were hyperlinked to the DoorDash Terms and Conditions in effect at the time. . . .”); see

                                  17   also Meyer v. Uber Techs., Inc., 868 F.3d 66, 78 (2d Cir. 2017) (“[W]e conclude that the design of

                                  18   the screen and language used render the notice provided reasonable as a matter of California law.

                                  19   The Payment Screen is uncluttered, with only fields for the user to enter his or her credit card

                                  20   details, buttons to register for a user account or to connect the user’s pre-existing PayPal account

                                  21   or Google Wallet to the Uber account, and the warning that ‘By creating an Uber account, you

                                  22   agree to the TERMS OF SERVICE & PRIVACY POLICY,’” where hyperlinked Terms and

                                  23   Conditions and Privacy Policy were directly below the buttons for registration in blue and

                                  24   underlined).

                                  25          Plaintiffs attempt to distinguish both of these lines of cases by pointing out – as I noted in

                                  26   Colgate – that the hyperlinks for the Terms and Conditions and Privacy Policy in the post-August

                                  27   9, 2018 Log In/Sign Up pages were not highlighted in a different text color or set apart from other

                                  28   text on the page, and were instead presented as black or dark grey text in a gray box. That is true
                                                                                        16
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                                   1   only for the Log In/Sign Up pages from February 2019. Jacobs Decl., Ex. 5. But “Terms and

                                   2   Conditions” is now underlined immediately following the clickbox and presented on a relatively

                                   3   uncluttered page. Plaintiffs also point out that the “Forgot Password” hyperlink on each version of

                                   4   the “Sign-In” screens was more prominently displayed and more significantly highlighted than the

                                   5   Terms and Conditions and Privacy Policy hyperlinks because it was bolded. On each of the Log

                                   6   In/Sign Up pages at issue, the required “Sign Up” button is right beneath the affirmative clickbox

                                   7   with the obviously hyperlinked Terms and Conditions. The way the Terms and Conditions were

                                   8   displayed on the Log In/Sign Up pages used by the three DPPs do not create a material difference

                                   9   between this motion and the motion in Colgate.

                                  10           However, the addition of the affirmative assent clickbox, drawing attention to the text

                                  11   immediately following that contains the somewhat highlighted hyperlinked Terms and Conditions

                                  12   links, does change the analysis. Other factors also support a finding of constructive assent. Each
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                                  13   of the Log In/Sign Up pages was relatively clear and uncluttered. As of and after August 9, 2018,

                                  14   the Terms and Conditions and Privacy Policy hyperlinks were in a different shade of text and in a

                                  15   different font-style.8 And by 2019, the hyperlinks following the clickbox were underlined and for

                                  16   part of that period also italicized.9

                                  17           Plaintiffs’ cases are not persuasive given the structure of the account creation pages each

                                  18   DPP used here. In Cullinane v. Uber Techs., Inc., 893 F.3d 53, 57 (1st Cir. 2018), the court noted

                                  19   that, unlike here, “Uber chose not to use a common method of conspicuously informing users of

                                  20   the existence and location of terms and conditions: requiring users to click a box stating that they

                                  21   agree to a set of terms, often provided by hyperlink, before continuing to the next screen. Instead,

                                  22

                                  23   8
                                         As noted in Colgate, use of a slightly different shade of text was the only way a consumer may
                                  24   know she or he was agreeing to hyperlinked Terms and Conditions, and that alone was
                                       insufficient. Colgate v. JUUL Labs, Inc., 402 F. Supp. 3d 728, 765 (N.D. Cal. 2019). In the later
                                  25   iterations of the Log In/Sign Up pages, however, the clickbox expressly drawing the user’s
                                       attention and mandating affirmative attention plus the different colored, underlined and/or
                                  26   italicized text leads to a different conclusion.

                                  27
                                       9
                                         I need not separately address the “Welcome Back” screen that plaintiff Martinez may have seen
                                       following the creation of his account (where those Welcome Back screens do not require a
                                  28   customer who already has an account to affirmatively check again their agreement to the Terms
                                       and Conditions).
                                                                                       17
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                                   1   Uber chose to rely on simply displaying a notice of deemed acquiescence and a link to the terms.”

                                   2   Id. 893 F.3d at 62. The court was concerned that the terms to which users were agreeing were

                                   3   disclosed only in “bold white text enclosed in a gray rectangle” amidst dark gray text, and found

                                   4   that the presence of numerous other “terms on the same screen with a similar or larger size,

                                   5   typeface, and with more noticeable attributes diminished the hyperlink’s capability to grab the

                                   6   user’s attention.” Id. at 63–64.

                                   7          Unlike the cases the DPPs rely on, the Log In/Sign Up pages here do not have the same

                                   8   amount of clutter and do not create a significant risk of confusion concerning what the Terms and

                                   9   Conditions governed. See, e.g., Long v. Provide Com., Inc., 245 Cal. App. 4th 855, 858 (Cal.

                                  10   App. 2d Dist. 2016) (addressing a purely browsewrap agreement that did “not require users to

                                  11   affirmatively click a button to confirm their assent to the agreement’s terms; instead, a user’s

                                  12   assent is inferred from his or her use of the Web site” and which require a heightened level of
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                                  13   disclosure to be conspicuous); Sgouros v. TransUnion Corp., 817 F.3d 1029, 1035 (7th Cir. 2016)

                                  14   (concluding defendants’ “site actively misleads the customer. The block of bold text below the

                                  15   scroll box told the user that clicking on the box constituted his authorization for TransUnion to

                                  16   obtain his personal information. It says nothing about contractual terms. No reasonable person

                                  17   would think that hidden within that disclosure was also the message that the same click constituted

                                  18   acceptance of the Service Agreement.”); Starke v. SquareTrade, Inc., 913 F.3d 279, 294 (2d Cir.

                                  19   2019) (rejecting enforcement where “the ‘Terms & Conditions’ hyperlink was neither spatially nor

                                  20   temporally coupled with the transaction. The ‘Terms & Conditions’ hyperlink was spatially

                                  21   decoupled from the transaction because it was not provided near the portion of the Amazon

                                  22   purchase page actually requiring [plaintiff’s] attention (that is, the ‘Add to Cart’ button), or indeed

                                  23   anywhere on the purchase page. To provide conspicuous notice of the Post-Sale T&C,

                                  24   SquareTrade could have simply included a noticeable hyperlink on the Amazon purchase page

                                  25   directing consumers to review the terms and conditions.”); Applebaum v. Lyft, Inc., 263 F. Supp.

                                  26   3d 454, 466–67 (S.D.N.Y. 2017) (rejecting enforcement of arbitration agreement where the “‘I

                                  27   agree to Lyft's Terms of Service’ is in the smallest font on the screen, dwarfed by the jumbo-sized

                                  28   pink ‘Next’ bar at the bottom of the screen and the bold header ‘Add Phone Number’ at the top,”
                                                                                         18
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                                   1   all of which would misleading consumers even if the hyperlinked Terms of Service was easier to

                                   2   identify).10

                                   3           Plaintiffs’ constructive assent to the arbitration agreement and class action waiver has been

                                   4   demonstrated.

                                   5           D.      Unconscionability
                                   6           Plaintiffs argue that even if there is sufficient evidence of constructive assent to bind the

                                   7   DPPs to the Terms and Conditions, I should not enforce the arbitration agreement against the three

                                   8   DPPs because the Agreement is procedurally and substantively unconscionable.

                                   9           Whether a contract is unconscionable is a question of law. Patterson v. ITT Consumer Fin.

                                  10   Corp., 14 Cal. App. 4th 1659, 1663 (Cal. Ct. App. 1993). In California, unconscionability

                                  11   includes an “absence of meaningful choice on the part of one of the parties together with contract

                                  12   terms which are unreasonably favorable to the other party.” Lhotka v. Geographic Expeditions,
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                                  13   Inc., 181 Cal. App, 4th 816, 821 (Cal. Ct. App. 2010) (citation omitted). Accordingly,

                                  14   unconscionability has both a “procedural” and a “substantive” element. Id. (citation omitted).

                                  15           Procedural unconscionability occurs where a contract or clause involves oppression,

                                  16   consisting of a lack of negotiation and meaningful choice, or surprise, such as where the term at

                                  17   issue is hidden within a wordy document. Id. “California law treats contracts of adhesion, or at

                                  18   least terms over which a party of lesser bargaining power had no opportunity to negotiate, as

                                  19   procedurally unconscionable to at least some degree.” Bridge Fund Capital Corp. v. Fastbucks

                                  20   Franchise Corp., 622 F.3d 996, 1004 (9th Cir. 2010) (superseded by statute on other grounds).

                                  21   Substantive unconscionability occurs where the provision at issue “reallocates risks in an

                                  22   objectively unreasonable or unexpected manner.” Lhotka, 181 Cal. App. 4th at 821 (citation

                                  23   omitted). “Substantive unconscionability focuses on the one-sidedness or overly harsh effect of the

                                  24   contract term or clause.” Id. at 824–825.

                                  25           Both the procedural and substantive elements must be met before a provision will be

                                  26
                                  27   10
                                         Plaintiffs do not dispute that their purchases through the JLI website would be covered by the
                                  28   arbitration Agreement and class action waiver if the Terms and Conditions are enforceable against
                                       them.
                                                                                          19
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                                   1   deemed unconscionable, but both need not be present to the same degree. Rather, “the more

                                   2   substantively oppressive the contract term, the less evidence of procedural unconscionability is

                                   3   required to come to the conclusion that the term is unenforceable, and vice versa.” Armendariz v.

                                   4   Found. Health Psychcare Services, Inc., 24 Cal. 4th 83, 114 (Cal. 2000).

                                   5                  1.      Procedural Unconscionability
                                   6          Plaintiffs argue that the arbitration agreement is procedurally unconscionable because: (1)

                                   7   plaintiffs were addicted to nicotine when they created their accounts and purchased products to

                                   8   satisfy their existing addiction to and use of JLI’s pod-based products (meaning they would have

                                   9   had to spend more to buy a new vaping system if they did not buy pods from JLI); (2) plaintiffs

                                  10   had no opportunity or ability to bargain with JLI over the arbitration agreement; (3) JLI did not

                                  11   require plaintiffs to view or read the Terms and Conditions before allowing them to create their

                                  12   accounts and purchase products; and (4) plaintiffs were not thereafter provided with a copy of the
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                                  13   Terms and Conditions or the JAMS procedures for arbitration that governed the agreement.

                                  14          Plaintiffs have not demonstrated significant procedural unconscionability. First, plaintiffs

                                  15   cite no authority for their position that a consumer lacks capacity to consent simply because a

                                  16   product is addictive and the individual plaintiffs provide no evidence that they were incompetent

                                  17   to enter into an agreement because of their addiction. See In re Rains, 428 F.3d 893, 901 (9th Cir.

                                  18   2005) (despite claim of mental incompetency, settlement agreement enforced where “the record

                                  19   contained sufficient evidence to support a finding that Rains understood the nature, purpose and

                                  20   effect of his actions when he agreed to settle with the trustee and the creditor.”). Second, although

                                  21   the terms were unilaterally imposed, that does not make the arbitration agreement unenforceable.

                                  22   Murphy v. Twitter, Inc., 60 Cal. App. 5th 12, 37 (Cal. App. 1st Dist. 2021) (“The fact that Murphy

                                  23   had no opportunity to negotiate the terms of service, standing alone, is insufficient to plead a

                                  24   viable unconscionability claim.”).

                                  25          Third and fourth, plaintiffs cite no cases requiring the immediate display or separate

                                  26   provision of an arbitration agreement or the rules governing the arbitration to consumers as

                                  27   predicates to enforceability. The availability of the Terms and Conditions in the hyperlinked text

                                  28   immediately next to the clickbox where the DPPs affirmatively assented to the Terms and
                                                                                        20
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                                   1   Conditions is sufficient for enforceability. The failure to provide consumers with a copy of the

                                   2   underlying rules governing the arbitration does not make the agreement or its enforcement

                                   3   unconscionable. See Baltazar v. Forever 21, Inc., 62 Cal. 4th 1237, 1246 (2016) (where challenge

                                   4   is not to unconscionability of particular element of the underlying arbitration rules, but instead

                                   5   based on a “failure to attach” rules, enforcement is not unconscionable).

                                   6                  2.      Substantive Unconscionability
                                   7          Plaintiffs argue that the arbitration agreement is substantively unconscionable because: (1)

                                   8   JLI retained the unilateral right to modify or change the Terms and Conditions, without notifying

                                   9   plaintiffs; (2) consumers are forced to bring their claims in San Francisco or (under the newer

                                  10   Terms and Conditions) Wilmington, Delaware and that choice of forums imposes unfair costs on

                                  11   consumers; (3) while consumers have to arbitrate their claims, JLI retains the right to seek

                                  12   “injunctive or equitable relief” from a court to protect its intellectual property, making the
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                                  13   agreement impermissibly one-sided; (4) JLI purports to shorten the statute of limitations from four

                                  14   years to one; and (5) the JAMS rules are substantively unconscionable because they limit

                                  15   plaintiffs’ rights to discovery, which is particularly intensive for antitrust claims.

                                  16          On the first point, there is no dispute that JLI reserved the right to modify or change the

                                  17   Terms and Conditions, as the Terms and Conditions explain that a consumer’s “continued use” of

                                  18   the site “constitutes your agreement to such modification.” Jacobs Decl., Ex. 10 at ¶ 1. Plaintiffs’

                                  19   argument might have some force if JLI was attempting to enforce a materially different set of

                                  20   Terms and Conditions that none of these plaintiffs had assented to, but that is not the situation

                                  21   here. Compare In re Zappos.com, Inc., Customer Data Sec. Breach Litig., 893 F. Supp. 2d 1058,

                                  22   1066 (D. Nev. 2012) (where Terms of Use gave defendant “the right to change the Terms of Use,

                                  23   including the Arbitration Clause, at any time without notice to the consumer,” and to make “those

                                  24   changes applicable to that pending dispute if it determined that arbitration was no longer in its

                                  25   interest,” the court concluded that because “the Terms of Use binds consumers to arbitration while

                                  26   leaving Zappos free to litigate or arbitrate wherever it sees fit, there exists no mutuality of

                                  27   obligation,” and therefore illusory and unenforceable); with Ekin v. Amazon Services, LLC, 84 F.

                                  28   Supp. 3d 1172, 1176 (W.D. Wash. 2014) (distinguishing Zappos as a case where the
                                                                                          21
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                                   1   “unenforceable arbitration agreement was forced on those plaintiffs through a ‘browsewrap’

                                   2   ‘agreement’ which required absolutely no affirmative action on the part of consumers.”).

                                   3          On the second point, specifying San Francisco as the location for arbitrations is not

                                   4   procedurally unconscionable. Plaintiffs voluntarily commenced their litigation here. They do not

                                   5   otherwise provide any authority that would undermine the arbitration agreement simply because it

                                   6   specifies a location for arbitration (San Francisco or Wilmington), considering the JAMS rules or

                                   7   otherwise.

                                   8          On the third point, each of the three sets of Terms and Conditions that JLI contends (and

                                   9   plaintiffs do not dispute) existed during the operative times provides that JLI “retain[s] the right to

                                  10   seek injunctive or other equitable relief in a court of competent jurisdiction to prevent the actual or

                                  11   threatened infringement, misappropriation or violation of a [sic] our copyrights, trademarks, trade

                                  12   secrets, patents, or other intellectual property or proprietary right.” See, e.g., Jacobs Decl., Ex. 10;
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                                  13   see also Exs. 11 & 12. These provisions arguably reserve the right to seek injunctive relief to

                                  14   protect JLI’s intellectual property in court to JLI only. This limited reservation, however, does not

                                  15   implicate the concern recognized by California courts in employment cases when an employer

                                  16   seeks to compel the types of claims employee are likely to raise but preserves the employer’s right

                                  17   to go to court on claims it would likely initiate. See, e.g., Serafin v. Balco Properties Ltd., LLC,

                                  18   235 Cal. App. 4th 165, 181 (Cal. App. 1st Dist. 2015) (collecting cases); see also Carbajal v.

                                  19   CWPSC, Inc., 245 Cal. App. 4th 227, 248 (Cal. App. 4th Dist. 2016) (“Courts repeatedly have

                                  20   found an employer-imposed arbitration agreement to be substantively unconscionable when it

                                  21   requires the employee to arbitrate the claims he or she is mostly likely to bring, but allows the

                                  22   employer to go to court to pursue the claims it is most likely to bring.”). The types of relief JLI

                                  23   has arguably reserved to itself to seek in court are not the type of claims that would likely be

                                  24   raised by consumers who used JLI’s website to purchase or research products. This unilateral

                                  25   right at most creates only a marginal substantive unconscionability and does not make the

                                  26   Agreement unenforceable.

                                  27          On the fourth point, plaintiffs correctly argue that the two applicable sets of Terms and

                                  28   Conditions (existing from June 29, 2017 and July 17, 2019 and between July 17, 2019 and
                                                                                         22
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                                   1   November 26, 2019) imposed a one-year statute of limitations, contrary to the four-year statute

                                   2   that would otherwise apply to plaintiffs’ claims. Exs. 10, 11 (“You agree that any cause of action

                                   3   you have that arises out of or relates to these Terms of Service or your use of the Website must be

                                   4   brought by you within one year after the cause of action accrues. Otherwise, any such action by

                                   5   you against JUUL Labs is permanently barred.”). Relying on one case arising in the employment

                                   6   context, they assert that reduction in the statute of limitations is substantively unconscionable.

                                   7   DPP Oppo. to MTC at 21. JLI does not respond at all to this argument. I agree with plaintiffs that

                                   8   this provision is substantively unconscionable and will sever it, leaving the remaining provisions

                                   9   of the arbitration agreements enforceable. Severance is appropriate because the agreements are

                                  10   not “so ‘permeated’ by unconscionability that it cannot be cured by severance.” Serafin, LLC, 235

                                  11   Cal. App. 4th at 183-84.

                                  12          Finally, the proportionality rule of discovery in the JAMS rules appears consistent with the
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                                  13   proportionality of discovery required under the Federal Rules. While plaintiffs contend that the

                                  14   JAMS’s Optional Expedited Arbitration Procedure limits them to “one discovery deposition,”

                                  15   which they contend is unreasonable in an antitrust case, they ignore that the one-deposition rule is

                                  16   a default that will be reconsidered given the complexity of the case.11 Plaintiffs also ignore that

                                  17   even in arbitration they will have the benefit (provided under the Protective Order and Amended

                                  18   Protective Order entered in this case) of the discovery produced in the FTC action as well as

                                  19   discovery taken here. Plaintiffs have provided no evidence, by declaration or otherwise,

                                  20   substantiating their claim that they will not be able to secure or use sufficient discovery in any

                                  21   JAMS arbitration of their antitrust claims against JLI.

                                  22          In short, at most the arbitration agreements are marginally substantively unconscionable.

                                  23   The significantly unconscionable provision – limiting the statute of limitations in two of the

                                  24   Agreements – is readily severable. The agreements are otherwise enforceable.

                                  25

                                  26   11
                                          Declaration of Kyle P. Quackenbush, Dkt. No. 229-1, ¶ 34, Ex. 13 (JAMS’s Optional Expedited
                                  27   Arbitration Procedure, Rule 16.2(d)(v) (noting the “limitation of one discovery deposition per side
                                       (Rule 17(b)) shall be applied by the Arbitrator, unless it is determined, based on all relevant
                                  28   circumstances, that more depositions are warranted” considering the amount in controversy, the
                                       complexity of the factual issues in dispute, etc.).
                                                                                          23
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                                              E.      Unenforceable Prospective Waiver
                                   1
                                              Plaintiffs also contend that the arbitration agreements contain unenforceable prospective
                                   2
                                       waivers of plaintiffs’ substantive rights under federal antitrust laws because the choice of law
                                   3
                                       provisions in the agreements provide that they “shall be governed by the internal substantive laws
                                   4
                                       of the State of California” or for the later Terms, “governed and interpreted under the laws of the
                                   5
                                       State of Delaware, USA.” Jacobs Exs. 10, 12. They also note that while the Clayton Act claims
                                   6
                                       could be pursued under the agreement governed by California law, Delaware does not have a
                                   7
                                       private right of action for antitrust violations. Finally, they argue that given JLI’s retention of the
                                   8
                                       sole right to seek injunctive relief in court and JAMS procedures not conferring the right to award
                                   9
                                       public injunctive or other equitable relief, the agreement should not be enforced. See, e.g., McGill
                                  10
                                       v. Citibank, N.A., 2 Cal. 5th 945 (2017) (waiver of right to seek public injunctive relief in any
                                  11
                                       forum was contrary to California public policy and was thus unenforceable under California law).
                                  12
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                                              JLI does not dispute that federal and state law-based claims may still be raised in
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                                  13
                                       arbitration, even though the Terms and Conditions (the contract) will be interpreted under
                                  14
                                       California or Delaware law. Defendants agree that nothing in the Terms waives any right to seek
                                  15
                                       relief under any of the federal or state law claims raised by the DPPs.
                                  16
                                              As to the availability of “public injunctive relief,” plaintiffs point out only that JAMS’s
                                  17
                                       Optional Expedited Arbitration Procedure, §§ 16.2-3, fails “to include an arbitrator’s right to
                                  18
                                       award injunctive and other equitable relief.” DPP Oppo. to MTC at 22. Plaintiffs identify nothing
                                  19
                                       in the arbitration agreements or the JAMS rules prohibiting any plaintiff from seeking public
                                  20
                                       injunctive relief in the JAMS arbitration or elsewhere.12 This court must follow DiCarlo v.
                                  21
                                       MoneyLion, Inc., 988 F.3d 1148, 1158 (9th Cir. 2021), where the Ninth Circuit confirmed that
                                  22
                                       “public injunctive relief” is generally available arbitration.
                                  23
                                              Nothing in the Terms and Conditions or the Agreements themselves constitutes an
                                  24
                                       unenforceable prospective waiver.
                                  25

                                  26
                                  27   12
                                          The provision of the arbitration agreements allowing JLI to seek injunctive relief to protect its
                                  28   intellectual property rights in court does not expressly restrict or imply that a consumer does not
                                       have the right to seek injunctive relief in arbitration.
                                                                                           24
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                                              F.      Individual Defendants
                                   1
                                              The DPPs argue that even if their claims against JLI are subject to arbitration, their claims
                                   2
                                       against the JLI Director Defendants – Pritzker and Valani – should not be. The Ninth Circuit has
                                   3
                                       explained that “nonsignatories of arbitration agreements may be bound by the agreement under
                                   4
                                       ordinary contract and agency principles.” Letizia v. Prudential Bache Securities, Inc., 802 F.2d
                                   5
                                       1185, 1187 (9th Cir. 1986) (citations omitted). “[A]gents of a signatory can compel the other
                                   6
                                       signatory to arbitrate so long as (1) the wrongful acts of the agents for which they are sued relate
                                   7
                                       to their behavior as agents or in their capacities as agents [] and (2) the claims against the agents
                                   8
                                       arise out of or relate to the contract containing the arbitration clause. . . .” Amisil Holdings Ltd. v.
                                   9
                                       Clarium Capital Mgmt., 622 F. Supp. 2d 825, 832 (N.D. Cal. 2007) (internal citations omitted).
                                  10
                                              Here there is no dispute on the second prong; the antitrust claims against the Director
                                  11
                                       Defendants arise out of or relate to the Terms and Conditions that governed the terms of sale to
                                  12
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                                       each DPP who necessarily purchased product through JLI’s website. On the first prong, plaintiffs
 United States District Court




                                  13
                                       argue that the Director Defendants’ antitrust liability does not hinge on the acts they took as agents
                                  14
                                       of JLI. They instead contend that these individuals’ antitrust liability hinges on acts they took in
                                  15
                                       their own self-interest as “principals” or “major investors” of JLI seeking a massive payout from
                                  16
                                       the Altria investment. That distinction may have legal significance in other ways on other claims,
                                  17
                                       but for the motion to compel arbitration I find that Pritzker and Valani should be covered by the
                                  18
                                       arbitration agreements because they were acting as agents of JLI – even if they had their own
                                  19
                                       ulterior motives – when conducting negotiations with Altria. Plaintiffs cite no cases in support of
                                  20
                                       their position that officers or directors acting as representatives of the corporate entity fall outside
                                  21
                                       the protection of the corporate arbitration agreements. Failure to cover director defendants in
                                  22
                                       these circumstances could provide an easy way for plaintiffs to functionally avoid the significance
                                  23
                                       of agreements to arbitrate by sending related claims against a corporation to arbitration but
                                  24
                                       requiring claims against the corporation’s officers or directors to proceed in court. There is no
                                  25
                                       policy or other reason to support that result.13
                                  26
                                  27   13
                                         There are no allegations in the complaints, for example, that Pritzker or Valani were ever acting
                                  28   outside of the scope of their roles with JLI or acting in unauthorized ways.

                                                                                          25
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                                              G.      Remedy
                                   1
                                              For the foregoing reasons, JLI’s motion to compel arbitration of the claims of Martinez,
                                   2
                                       McGee, and Flannery against JLI and the Director Defendants is GRANTED. The DPPs are given
                                   3
                                       leave to amend to substitute a named direct purchaser plaintiff who purchased directly from JLI
                                   4
                                       prior to August 9, 2018 or who otherwise is not subject to JLI’s Terms and Conditions for direct
                                   5
                                       purchases on or after August 9, 2018. Such amendment, if possible, shall be made within thirty
                                   6
                                       days (30) of the date of this Order.
                                   7
                                                JLI asks me to either dismiss or stay the litigation of antitrust claims brought by the DPPs
                                   8
                                       in their Consolidated Class Action Complaint if I find that the three DPP plaintiffs’ claims against
                                   9
                                       JLI and the Director Defendants are subject to arbitration. The DPPs did not address their
                                  10
                                       preferred course of action in their opposition brief. Within thirty days of the date of this Order, the
                                  11
                                       DPPs shall notify me whether they want the claims of the three named DPP plaintiffs (Martinez,
                                  12
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                                       McGee, and Flannery) against JLI and the Director Defendants stayed or dismissed.
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                                  13
                                       II.    DEFENDANTS’ MOTIONS TO DISMISS THE DPP, IPP, AND IRP
                                  14          CONSOLIDATED CLASS ACTION COMPLAINTS
                                  15          Defendants each move to dismiss the Consolidated Class Action Complaints filed

                                  16   separately by the DPPs, IPPs, and IRPs. Dkt. Nos. 207, 209, 211. While I have granted JLI’s

                                  17   motion to compel arbitration with respect to the three currently named DPPs for the claims

                                  18   asserted against JLI and the Director Defendants, I have stayed the effect of that order to give the

                                  19   DPPs leave to amend to substitute one or more named plaintiffs whose claims might (as in the

                                  20   Colgate case) not be subject to an enforceable arbitration agreement. Therefore, I now consider

                                  21   the arguments of JLI and the Director Defendants’ that the DPPs’ claims against them should

                                  22   nonetheless be dismissed, as well as JLI and Altria’s arguments in support of dismissing the IPP

                                  23   and IRP claims.14

                                  24

                                  25

                                  26   14
                                         The most significant arguments in support of dismissal are made by Altria in its motion and
                                  27   reply. Dkt. Nos. 207, 237. Altria’s arguments are joined by JLI and the Director Defendants
                                       (with respect to the DPP claims). Dkt. Nos. 211, 209. I will generally address the arguments as
                                  28   made by “defendants” unless there are unique arguments presented by particular defendants.

                                                                                         26
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                                              A.      Antitrust Injury
                                   1
                                              Defendants argue broadly that no plaintiff in any of the three CACs has adequately alleged
                                   2
                                       antitrust injury – plausible facts supporting an adverse impact on price, output of the products, or
                                   3
                                       innovation in the market – that occurred following the alleged agreement to restrain trade.
                                   4
                                       Defendants note that injury is not a showing required for the FTC action, but is a key showing
                                   5
                                       required of private parties. See, e.g., Pool Water Products v. Olin Corp., 258 F.3d 1024, 1034 (9th
                                   6
                                       Cir. 2001).
                                   7
                                              Antitrust injury is the “‘type the antitrust laws were intended to prevent and that flows
                                   8
                                       from that which makes defendants’ acts unlawful.’” Knevelbaard Dairies v. Kraft Foods, Inc.,
                                   9
                                       232 F.3d 979, 987 (9th Cir. 2000) (quoting Atlantic Richfield Co. v. USA Petroleum Co., 495 U.S.
                                  10
                                       328, 334 (1990)). There are four requirements generally recognized for antitrust injury: (1)
                                  11
                                       unlawful conduct, (2) causing an injury to the plaintiff, (3) that flows from that which makes the
                                  12
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                                       conduct unlawful, and (4) that is of the type the antitrust laws were intended to prevent. Id. at 987.
 United States District Court




                                  13
                                              The IPPs and IRPs allege harm from: (i) the lessening of choices in the market, as Altria is
                                  14
                                       alleged to have been JLI’s “most competitive rival” (IPP CAC ¶¶ 157, 158); (ii) the reduction of
                                  15
                                       price competition that meant JLI could charge supracompetitive process for JUUL products (id.,
                                  16
                                       ¶¶ 20, 165, 265, 330); and (iii) the stifling of innovation that would have occurred had Altria
                                  17
                                       stayed in the market. Id. ¶¶ 20, 107, 165. The DPPs allege similar harms, using slightly different
                                  18
                                       language. They assert that as a direct and proximate result of the Agreement – causing Altria’s
                                  19
                                       complete departure from the market from close system e-vapor products – they suffered a range of
                                  20
                                       antitrust injuries, including: (i) supracompetitive prices (DPP CAC ¶¶ 9, 139, 160(b), 179), (ii)
                                  21
                                       reduced output (id., ¶ 139), (iii) reduced innovation (id., ¶¶ 9, 102, 139), and (iv) elimination of
                                  22
                                       consumer choice (id., ¶ 139).
                                  23
                                              Defendants contend that plaintiffs cannot show antitrust injury because of a document that
                                  24
                                       the IPP and IRP plaintiffs have incorporated by reference into their CACs. It demonstrates that in
                                  25
                                       the twelve months following October 2018 (when Altria’s MarkTen Elite product was pulled from
                                  26
                                       the market), JLI’s prices decreased by almost 12%, JLI’s output substantially increased, and JLI’s
                                  27
                                       market share fell by ten percentage points while other competitors made significant market share
                                  28
                                                                                         27
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                                   1   gains. October 2019 “Wells Fargo Report,” Ex. 12 to Altria’s RJN; IPP ¶ 48, IRP ¶ 45.

                                   2          At this juncture, the information that can be incorporated by reference does not fatally

                                   3   undermine plaintiffs’ allegations of antitrust injury. The only information from that document

                                   4   appropriate for consideration on these motions, as discussed later, is from the February 2019

                                   5   Wells Fargo Report that these plaintiffs intended to rely on, and perhaps the actual chart from the

                                   6   October 2019 Wells Fargo Report that was mistakenly included.15 Plaintiffs contend that they will

                                   7   develop evidence (expert and otherwise) to explain that any short-term decrease in JLI market

                                   8   share or output following Altria’s withdrawal from the market was only a temporal situation

                                   9   resulting primarily from JLI withdrawing its fruit-flavored pods in response to regulatory and

                                  10   public pressure.

                                  11          Defendants’ challenges are better determined on a full record. If I were to consider

                                  12   defendants’ evidence that the price of JLI’s product decreased in the months following the
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                                  13   withdrawal of Altria’s products from the market – which plaintiffs argue is not accurate “in

                                  14   absolute terms” and needs expert analysis given the regulatory pressure and other factors at play –

                                  15   plaintiffs still adequately allege that JLI charged supracompetitive prices despite the potential

                                  16   decrease in absolute prices following the increased governmental and public criticism. The

                                  17   departure of the second largest competitor in the closed system e-vapor market – where Altria

                                  18   allegedly held around 8% of the market – supports the plausible allegation that Altria’s departure

                                  19   led to supracompetitive process, reduced output, and reduced innovation.

                                  20          The allegations here are not similar to those in Somers v. Apple, Inc., 729 F.3d 953, 964

                                  21   (9th Cir. 2013). There, the Ninth Circuit rejected plaintiffs’ overcharge theory – that Apple’s use

                                  22   of digital music right restrictions (DRM), making iTunes music files and the iPod compatible only

                                  23   with each other led to overcharges – as “implausible in the face of contradictory market facts

                                  24   alleged in her complaint.” Id. at 967. In particular, the plaintiff “acknowledges, under basic

                                  25

                                  26   15
                                         There is some dispute as to which Wells Fargo Report the IPPs/IRPs actually relied on in their
                                  27   CACs. The Indirect Plaintiffs explain they intended to reference and include a chart from the
                                       February 2019 Wells Fargo Report but mistakenly included the chart from the October 2019
                                  28   Report. Dkt. No. 228 at 7 n.3. As explained below, at most these two charts would be
                                       incorporated by reference, but not the remaining portions of the two Reports.
                                                                                       28
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                                   1   economic principles, increased competition—as Apple encountered in 2008 with the entrance of

                                   2   Amazon—generally lowers prices. [] The fact that Apple continuously charged the same price for

                                   3   its music irrespective of the absence or presence of a competitor renders implausible Somers’

                                   4   conclusory assertion that Apple’s software updates [imposing the DRM] affected music prices.”

                                   5   Id. As there was no price change in the market nor increased competition from other digital music

                                   6   platforms, there could have been no competition eliminated; that case was dismissed at the

                                   7   pleading stage. Id.

                                   8           Here, there is nothing on the face of the CACs – or in facts appropriately judicially

                                   9   noticeable that are not subject to dispute – that undermines plaintiffs’ theories. They allege that in

                                  10   the short term following the Agreement, the economic metrics in the market were impacted by

                                  11   JLI’s decisions to withdraw its fruit-flavored pods and take other steps in response to the

                                  12   regulatory and public pressure and that they suffered from supracompetitive prices in the more
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                                  13   concentrated market that was enabled by JLI and its most effective competitor reaching the

                                  14   Agreement to remove Altria from the market.16

                                  15           Finally, defendants assert that plaintiffs’ equitable relief claims must be dismissed

                                  16   (separate from the failure to adequately allege causation argument) because plaintiffs do not allege

                                  17   that they will be wronged in a similar way in the future. Plaintiffs question whether the

                                  18   requirement to expressly allege likelihood of future injury is required in the antitrust context but

                                  19   do not dispute that they have not alleged possible future injury in their CACs. Assuming the need

                                  20   to plead that possible or likely future injury applies in this context, defendants’ motions to dismiss

                                  21   are GRANTED in this limited respect. Plaintiffs are given leave to amend. Within thirty (30)

                                  22   days of the date of this Order, they must file amended CACs containing (where appropriate)

                                  23   allegations that some or all of the named plaintiffs may suffer future injury to support the claims

                                  24   for equitable relief.

                                  25

                                  26   16
                                          I need not reach the other injuries alleged, including reduction in innovation. But even if I
                                  27   agreed with defendants’ characterization of plaintiffs’ assertions as confirming the e-cigarette
                                       industry’s high barriers to entry and innovation in the market, there are plausible inferences drawn
                                  28   from plaintiffs’ allegations that Altria was well-positioned to bring new products and innovation to
                                       the industry despite those barriers.
                                                                                          29
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                                              B.      Sherman Act Claims
                                   1
                                                      1.      Anticompetitive Agreement
                                   2
                                              Defendants argue that no plaintiff has adequately alleged a per se anticompetitive
                                   3
                                       agreement in violation of Section 1 of the Sherman Act. They point out that the three written
                                   4
                                       agreements identified by plaintiffs as anticompetitive – the October 5, 2018 email, the
                                   5
                                       Relationship Agreement (entered in December 2018) and the January 28, 2020 Amended
                                   6
                                       Relationship Agreement – do not expressly require Altria to leave the market. The written
                                   7
                                       agreements, instead, allowed Altria to continue with its then current activities and only prevented
                                   8
                                       Altria from entering the market with any new line of products, a restraint defendants characterize
                                   9
                                       as reasonable as a matter of law to protect JLI’s intellectual property. Finally, defendants note that
                                  10
                                       despite having access to over 700,000 pages of documents from the FTC production, plaintiffs do
                                  11
                                       not add any more facts to support their per se theory.
                                  12
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                                              Even assuming that plaintiffs had the time to review and absorb the FTC production before
 United States District Court




                                  13
                                       filing the CACs, defendants’ arguments fail. Plaintiffs identify facts supporting their theory that
                                  14
                                       the key part of the overall Agreement between JLI and Altria was Altria’s full exit from the e-
                                  15
                                       vapor market. That theory is supported by references in the IPP, IRP, and DPP CACs to facts
                                  16
                                       known about the negotiations, the parties involved, the three writings identified above, and the
                                  17
                                       acts and explanations Altria contemporaneously provided to explain its actions. Although the
                                  18
                                       required withdrawal of Altria from the market was not reduced to writing (which plaintiffs allege
                                  19
                                       was for obvious reasons), plaintiffs have plausibly alleged that the withdrawal was key to the deal
                                  20
                                       with JLI by inference supported by specifically identified facts.
                                  21
                                              Altria spends significant time in its motion and reply attempting to anchor alternative, non-
                                  22
                                       antitrust explanations for its conduct. It references documents and statements identified in the
                                  23
                                       CACs to claim that Nu Mark was being trounced by JUUL despite Altria’s heavy investments and
                                  24
                                       retail power and that Altria was only in the beginning stages of developing a product utilizing
                                  25
                                       technology similar to JLI’s. See Altria MTD at 27-29; Altria Reply at 14-18 (relying on In re
                                  26
                                       Cent. Aluminum Co. Securities Litig., 729 F.3d 1104 (9th Cir. 2013); Starr v. Baca, 652 F.3d
                                  27
                                       1202, 1216 (9th Cir. 2011); Name.Space, Inc. v. Internet Corp. for Assigned Names and Numbers,
                                  28
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                                   1   795 F.3d 1124, 1130 (9th Cir. 2015).

                                   2          But, as the cases relied on by Altria demonstrate, “Plaintiff’s complaint may be dismissed

                                   3   only when defendant’s plausible alternative explanation is so convincing that plaintiff’s

                                   4   explanation is implausible.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011) (emphasis in

                                   5   original). Here, plaintiffs’ theory is more than plausible even if defendants’ alternative theories

                                   6   ultimately may be more convincing to the jury. Id. (“If there are two alternative explanations, one

                                   7   advanced by defendant and the other advanced by plaintiff, both of which are plausible, plaintiff’s

                                   8   complaint survives a motion to dismiss under Rule 12(b)(6).”). Plaintiffs have alleged facts

                                   9   “tending to exclude the possibility that the alternative explanation is true,” including Altria’s

                                  10   continued large scale spending on its research and development efforts to compete with JLI right

                                  11   up to the withdrawal of Nu Mark from the market. See In re Cent. Aluminum Co. Securities Litig.,

                                  12   729 F.3d at 1108.17
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                                  13          Altria’s alternative explanations would require me to accept the gloss that it attempts to put

                                  14   on plaintiffs’ allegations and the documents on which they rely. That is not appropriate at this

                                  15   juncture. For example, plaintiffs admit that Altria publicly commented (as identified in the DPP

                                  16   CAC) that part of the reason that it withdrew from the e-vapor market was the increasing

                                  17   regulatory pressure the FDA was putting on companies over youth vaping. Plaintiffs, however,

                                  18   contend that was a pretextual excuse. Plaintiffs’ explanation is plausible, given Altria’s alleged

                                  19   extensive regulatory experience that was subsequently put to use on behalf of JLI as well as its

                                  20   other public statements and heavy investment in its own e-vaping products throughout 2018 until

                                  21   it abruptly pulled its products from the market in October 2018. This is not a case where

                                  22   plaintiffs’ allegations demonstrate the implausibility of their theories and support only legitimate,

                                  23   non-antitrust explanations.

                                  24          Nor can defendants ignore plaintiffs’ plausible allegations that a key part of the Agreement

                                  25

                                  26   17
                                          In Name.Space, Inc. v. Internet Corp. for Assigned Names and Numbers, unlike here, the
                                  27   plaintiffs’ allegations were “fully consistent” with the defendants’ express agreement to manage
                                       internet naming rights and defendants implemented the agreement with neutral rules. Absent
                                  28   factual allegations that the process was rigged to benefit defendants’ own interests, the claim
                                       failed. Id., 795 F.3d at 1130.
                                                                                         31
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                                   1   was Altria’s withdrawal in order to shift the focus to the specific, written non-compete provision

                                   2   in the Relationship Agreement. Defendants may be correct that covenants not to compete,

                                   3   especially those entered in the employment context or ones otherwise intended to protect

                                   4   intellectual property, “should not be tested under the per se rule. Such covenants often serve

                                   5   legitimate business concerns such as preserving trade secrets and protecting investments in

                                   6   personnel.” Aydin Corp. v. Loral Corp., 718 F.2d 897, 900 (9th Cir. 1983). However, the

                                   7   intended scope of the express, written non-compete agreements in the Relationship Agreement and

                                   8   plaintiffs’ allegations regarding the non-written agreement to withdraw in whole from the market

                                   9   need to be considered together and tested on an evidentiary basis.

                                  10          Finally, whether the Agreement was a “naked” pro se restraint (as characterized by

                                  11   plaintiffs given the unwritten but otherwise expressed requirement that Altria leave the market) or

                                  12   merely an “ancillary” restraint (as characterized by the defendants whereby Altria was only
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                                  13   prohibited from introducing new products into the market and part of the defendants’ “larger

                                  14   endeavor whose success they promote”) cannot be determined at this juncture. See Polk Bros.,

                                  15   Inc. v. Forest City Enterprises, Inc., 776 F.2d 185, 188–89 (7th Cir. 1985).

                                  16          Plaintiffs have adequately alleged a per se agreement.

                                  17                  2.      Quick Look & Rule of Reason
                                  18          Defendants also argue that the limited, written non-compete agreement in the Relationship

                                  19   Agreement – preventing Altria from entering the market with new products to protect JLI’s

                                  20   intellectual property – is legal as a matter of law under the rule of reason analysis, given the

                                  21   Relationship Agreement’s express concern to protect JLI’s intellectual property during the time

                                  22   that Altria provided critical distribution and regulatory services to JLI. Defendants go so far as to

                                  23   argue that but for Altria providing regulatory services to JLI, the JUUL product might not secure

                                  24   PMTA approval and result in lessened competition. See Altria MTD at 30.18 But this argument

                                  25

                                  26
                                       18
                                         As the case Altria relies on explains, “[t]he covenant not to compete means that A may trust B
                                       with broader responsibilities, the better to compete against third parties. Covenants of this type are
                                  27   evaluated under the Rule of Reason as ancillary restraints, and unless they bring a large market
                                       share under a single firm’s control they are lawful.” Polk Bros., Inc. v. Forest City Enterprises,
                                  28   Inc., 776 F.2d 185, 189 (7th Cir. 1985). Here, plaintiffs have alleged that the express covenant
                                       was part of the larger Agreement and, in fact, resulted in JLI securing a larger market share under
                                                                                         32
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                                   1   ignores plaintiffs’ allegations of the unwritten pre-condition to the Relationship Agreement that

                                   2   Altria leave the market. As noted above, that allegation has been adequately alleged. Similarly, as

                                   3   noted above, the plaintiffs have adequately alleged plausible antitrust injury.

                                   4           The impact of the express non-compete provisions in the Relationship Agreement must be

                                   5   considered in connection with the other relevant agreements including the Purchase Agreement,

                                   6   the Services Agreement, the Intellectual Property License Agreement, and the Voting Agreement.

                                   7   See, e.g., Altria Mot. at 30-31; see also DPP CAC ¶¶ 93-97. This analysis is heavily fact

                                   8   dependent and cannot be resolved on the pleadings. See, e.g., In re Nat’l Football League’s

                                   9   Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1152 (9th Cir. 2019) (“we are required to take a

                                  10   holistic look at how the interlocking agreements actually impact competition”).

                                  11                  3.      Director Defendants
                                  12                          a.      Standard
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                                  13           The DPPs and the Director Defendants – Pritzker and Valani, named as defendants in only

                                  14   the DPP CAC – engage in a vigorous debate over the standard required to hold corporate directors

                                  15   liable under the Sherman Act. The Director Defendants argue that individuals can only be

                                  16   theoretically liable for a corporation’s allegedly anticompetitive conduct under the Sherman Act

                                  17   where the allegations establish the individuals’ direct participation in a per se violation based on

                                  18   those individuals’ “inherently wrongful conduct.” Murphy Tugboat Co. v. Shipowners &

                                  19   Merchants Towboat Co., Ltd., 467 F. Supp. 841, 853 (N.D. Cal. 1979), aff'd sub nom. Murphy

                                  20   Tugboat Co. v. Crowley, 658 F.2d 1256 (9th Cir. 1981) (“The generality of the [Sherman] Act’s

                                  21   prohibition, the often uncertain line between proper and improper conduct, and the social interest

                                  22   in not deterring economically useful conduct by the imposition of excessive risks all of which the

                                  23   Supreme Court recognized . . . make it appropriate to limit personal liability to cases of

                                  24   participation in inherently wrongful conduct.”); see also Hightower v. Celestron Acq., LLC, 5:20-

                                  25   CV-03639-EJD, 2021 WL 2224148, at *11 (N.D. Cal. June 2, 2021) (applying “inherently

                                  26   wrongful conduct” standard from Murphy and concluding allegations regarding former CEOs’

                                  27

                                  28
                                       its control.
                                                                                         33
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                                   1   individual acts in facilitating a horizontal antitrust conspiracy sufficient); In re California Bail

                                   2   Bond Antitrust Litig., 511 F. Supp. 3d 1031 (N.D. Cal. 2021) (apply Murphy standard in

                                   3   conspiracy between various members of the California bail bonds industry to artificially inflate the

                                   4   price of bail bonds in violation of federal and California law, and concluding allegations against

                                   5   CEO of surety company sufficient where he allegedly “approv[ed] and ratif[ied] the conduct” at

                                   6   heart of conspiracy).

                                   7          The DPPs dispute whether personal conduct in support of a pro se agreement needs to be

                                   8   alleged. They contend that “inherently wrongful conduct,” if that is the correct standard to be

                                   9   applied, can arise in connection with agreements analyzed under the rule of reason. That debate

                                  10   does not need to be resolved now. Plaintiffs have adequately alleged both a per se violation and

                                  11   Pritzker and Valani’s personal participation in it. The DPP CAC is replete with allegations that

                                  12   Pritzker and Valani, who were critical players in negotiating the Agreement with Altria, often
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                                  13   acting as JLI’s points of contact at meetings and in correspondence, had the ultimate aim to protect

                                  14   their investments and enrich themselves given the size of their ownership and additional

                                  15   investments as recent as July 2018 in JLI. See, e.g., DPP CAC ¶¶ 19, 20, 68, 70, 71, 72, 74, 77,

                                  16   79, 81, 86.

                                  17          I cannot decide on the pleadings whether this conduct amounts to “inherently wrongful

                                  18   conduct” that Pritzker and Valani engaged in for their own enrichment and not as part of their

                                  19   fiduciary duties to JLI, or whether that conduct was indicative of legitimate business

                                  20   considerations on behalf of JLI and undertaken as part of the Director Defendants’ fiduciary duties

                                  21   to JLI. If plaintiffs fail to prove their per se allegations, the issue of whether the individuals’

                                  22   conduct nonetheless amounts to actionable conduct under the “inherently wrongful” or a lesser

                                  23   standard may be raised again.

                                  24                           b.      Injunctive Relief
                                  25          The Director Defendants also argue that they cannot be liable for equitable or injunctive

                                  26   relief for the antitrust claims as the series of agreements constituting the anticompetitive

                                  27   Agreement were entered into by JLI and Altria and not the Director Defendants, and that the

                                  28   Director Defendants have no authority to compel JLI or Altria to take any action. The DPPs do
                                                                                           34
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                                   1   not address this argument or provide any authority showing that similarly situated directors can be

                                   2   required to provide the sort of injunctive relief the DPPs seek.

                                   3             The DPPs claim for injunctive relief against the Director Defendants is DISMISSED

                                   4   without leave to amend.

                                   5                    4.      Section 2 Conspiracy Claim
                                   6             Finally, Altria argues the IPPs and IRPs Section 2 conspiracy claim fails for the same

                                   7   reasons their Section 1 claim fails.19 However, as noted above, the Section 1 claim survives and

                                   8   has been adequately alleged. As a result, the Section 2 claim likewise survives.20

                                   9                    5.      Section 2 Injunctive Relief
                                  10             JLI separately argues that the IPPs and IRPs’ Section 2 monopolization claims – given

                                  11   their indirect purchaser status, they can only seek injunctive relief – must be dismissed because

                                  12   these plaintiffs fail to plausibly plead that there is now or likely will be in the future an attempt by
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                                  13   JLI to monopolize the closed-system E-vapor market. In support, JLI points to plaintiffs’ own

                                  14   allegations that “paint a picture of a market that is increasingly competitive, as to which JLI’s

                                  15   influence is waning.” JLI Mot. at 8.

                                  16             This argument is derivative of the similar argument made by Altria that plaintiffs have

                                  17   failed to plead antitrust injury given their own allegations and the Wells Fargo Reports, addressed

                                  18   above. It fails for similar reasons. Even though plaintiffs rely on market data from 2018 and even

                                  19   though absolute prices or market shares may have fallen for JLI in the short term following the

                                  20   Altria Agreement, plaintiffs’ explanations (those changes were the result of acts JLI voluntarily

                                  21   took in response to regulatory pressure and public pressure) are not implausible or otherwise

                                  22   fatally undermined by their other allegations. Whether or not plaintiffs will be able to prove that

                                  23   an injunction is necessary to correct for and otherwise prevent a future injury related to

                                  24   monopolistic conduct is better tested on an evidentiary record.

                                  25

                                  26
                                       19
                                  27        The DPPs do not allege a Section 2 claim against any defendant.
                                       20
                                  28     I acknowledge but need not reach the IPP and IRP argument that even in absence of a Section 1
                                       claim, the Section 2 conspiracy-to-monopolize claim could survive.
                                                                                      35
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                                                 C.     Clayton Act Claims
                                   1
                                                        1.      Altria as Actual or Potential Competitor
                                   2
                                                 Altria argues that the Section 7 claim must be dismissed because plaintiffs allege that by
                                   3
                                       the time the Altria investment was finalized in December 2018, it had already removed its
                                   4
                                       competing products from the market. DPP ¶ 137, IPP ¶ 96, IRP ¶ 93. In that circumstance, Altria
                                   5
                                       contends, it was not a competitor. According to Altria, plaintiffs cannot rely on their “actual
                                   6
                                       competitor theory” but must instead rely on one of two theories, the “actual potential competitor
                                   7
                                       theory” or a “perceived potential competitor theory.”
                                   8
                                                 To satisfy the actual potential competitor theory, Altria asserts that plaintiffs must show
                                   9
                                       that the acquisition foreclosed Altria from future de novo entry and, but for the Agreement, Altria
                                  10
                                       would have entered de novo. Plaintiffs cannot do so, Altria argues, given their admissions in the
                                  11
                                       CACs regarding the high barriers to entry created by the onerous regulatory scheme required for
                                  12
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                                       new products and the attendant expenses to enter the market. Under the perceived potential
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                                  13
                                       competitor theory, Altria argues that plaintiffs must plausibly allege that the “mere threat” of
                                  14
                                       Altria’s potential entry prevented those already in the market from raising price, which plaintiffs
                                  15
                                       have not attempted to plead.
                                  16
                                                 Plaintiffs respond that in the situation here – where pursuant to the alleged antitrust
                                  17
                                       Agreement a competitor leaves the market – Altria’s voluntary departure does not insulate it from
                                  18
                                       traditional Section 7 actual competitor analysis. Plaintiffs point to their allegations that if the JLI
                                  19
                                       deal was not effectuated, Altria was fully situated to bring and in fact made comments that it
                                  20
                                       would bring the MarkTen Elite product back to the market. IPP ¶¶ 67, 83, 91 IRP ¶¶ 64, 80, 88.
                                  21
                                       These allegations are plausible at this juncture and sufficient to allege the actual competitor
                                  22
                                       theory.
                                  23
                                                 Unlike the cases relied on by defendants – that did not involve agreements that reduced the
                                  24
                                       number of competitors in the market or otherwise altered concentration levels – plaintiffs’
                                  25
                                       allegations are plausibly alleged in support of the Section 7 claim.21 Altria and JLI were actual
                                  26
                                  27   21
                                          See, e.g., F.T.C. v. A. Richfield Co., 549 F.2d 289, 299 (4th Cir. 1977) (recognizing that
                                  28   divestiture to a third party not involved in the merger could avoid an antitrust violation).

                                                                                           36
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                                   1   competitors at the time the alleged antitrust Agreement was made. It does not alter Altria’s actual

                                   2   competitor status that, as part of the alleged antitrust Agreement, Altria left the market by the time

                                   3   the Agreement was fully effectuated and publicly disclosed.

                                   4          The plaintiffs also argue that even if Altria was able to voluntarily “terminate” its status as

                                   5   an actual competitor, their allegations adequately establish that it was an actual potential

                                   6   competitor. They point to Altria’s plans to reenter with the MarkTen Elite product and use of

                                   7   “growth teams” to develop next generation e-cigarettes. See IPP ¶¶ 67, 83, 91 IRP ¶¶ 64, 80, 88;

                                   8   see also IPP ¶ 160, IRP ¶ 157. These plausible allegations, plus the evidence regarding Altria’s

                                   9   ability (unlike other potential entrants) to reenter the market given its extensive background,

                                  10   regulatory experience, and ample funds, render Altria both a potential actual competitor and a

                                  11   “perceived potential competitor.”

                                  12                  2.      Market Concentration
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                                  13          Altria challenges plaintiffs’ market concentration allegations as inapposite because it was

                                  14   not an existing competitor to JLI when the Agreements was entered. That argument has been

                                  15   rejected. Altria also argues that allegations that the market became more concentrated following

                                  16   Altria’s exit are implausible (given the chart in the Wells Fargo Report showing JLI’s market

                                  17   share fell) and unsubstantiated (e.g., with any actual Herfindahl-Hirschman Index (HHI)

                                  18   calculations). As noted above, Altria overstates the significance and impact the Wells Fargo

                                  19   Report has at this juncture. It provides no authority for the proposition that at the motion to

                                  20   dismiss stage – unlike where the government is attempting to enjoin a merger and evidence is

                                  21   required to establish its prima facie case22 – a plaintiff must provide HHI calculations or anything

                                  22   similarly detailed. Plaintiffs’ market concentration allegations are sufficient.

                                  23                  3.      JLI
                                  24          JLI separately argues that because it did not acquire any stock, it cannot have liability

                                  25   under Section 7 of the Clayton Act. Plaintiffs respond that caselaw recognizes that JLI is a proper

                                  26   defendant to this claim because it was the seller of the acquired assets and a party to the allegedly

                                  27

                                  28
                                       22
                                         F.T.C. v. H.J. Heinz Co., 246 F.3d 708, 716 (D.C. Cir. 2001) (“Sufficiently large HHI figures
                                       establish the FTC's prima facie case that a merger is anti-competitive.”).
                                                                                       37
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                                   1   illegal acquisition, especially considering plaintiffs’ claim for injunctive relief to undo the

                                   2   anticompetitive agreement. See, e.g., Frike-Parks Press, Inc. v. Fang, 149 F. Supp. 2d 1175, 1185

                                   3   (N.D. Cal. 2001) (“the Ninth Circuit has recognized that sellers may be joined in a section 7 action

                                   4   against a purchaser when the plaintiff seeks rescission or divestiture, and the court needs

                                   5   jurisdiction over both the buying and selling company to fashion such equitable relief.”). JLI is

                                   6   appropriately named as a defendant on this claim.

                                   7          In addition, plaintiffs argue that through the anticompetitive Agreement JLI acquired

                                   8   “assets,” like the shelf-space and services from Altria, that lessened competition and falls within

                                   9   the broad interpretation of assets under Section 7. See Gerlinger v. Amazon, Inc., 311 F. Supp. 2d

                                  10   838, 853 (N.D. Cal. 2004) (noting the broad interpretation of “assets” in the Ninth Circuit which

                                  11   includes “sales routes and sales volumes” and distribution rights). The determination of whether

                                  12   the “assets” secured by JLI here were more akin to “services” JLI paid for or more akin to licenses
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                                  13   or distribution routes that could be considered “assets” under Section 7 must be resolved on an

                                  14   evidentiary record. Id. at 853 (finding allegations sufficient at motion to dismiss but considering

                                  15   evidence and rejecting claim on summary judgment).

                                  16                  4.      Pritzker and Valani
                                  17          The Director Defendants also argue that because they acquired no stock or assets in the

                                  18   deal, they cannot be liable to the DPPs under Section 7. The DPPs respond that they have

                                  19   adequately pleaded that Pritzker and Valani were the primary architects of the Agreement and, as

                                  20   board members whose assent would be required to undo the deal, they are necessary to provide the

                                  21   complete injunctive relief they seek here (the undoing of the Agreement). However, the DPPs

                                  22   provide absolutely no authority or apposite caselaw in support of their position that board

                                  23   members are appropriate defendants under a Section 7 claim seeking injunctive relief against the

                                  24   corporate entity.

                                  25          The Section 7 claim against the Director Defendants is DISMISSED with prejudice.

                                  26          D.      IPP State Law Claims
                                  27          Defendants move to dismiss the IPP state law claims asserted under (i) the antitrust laws of

                                  28   California, New York, Michigan, and Rhode Island and (ii) the consumer protection laws of
                                                                                         38
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                                   1   California, Florida, Massachusetts, and Rhode Island.

                                   2                    1.     State Antitrust and Consumer Protection Claims
                                   3             Altria argues that the California, New York, Michigan, and Rhode Island antitrust claims

                                   4   are derivative and therefore rise and fall with the federal claims. It argues the same for the

                                   5   consumer protection claims asserted under California, Florida, Massachusetts and Rhode Island

                                   6   law, because the claims all challenge an alleged restraint in trade that caused plaintiffs to pay

                                   7   allegedly supracompetitive prices (the same allegations underlying the antitrust claims).23 Even if

                                   8   I agreed with Altria that the state law claims are derivative, they cannot be dismissed because the

                                   9   federal claims survive.

                                  10                    2.     UCL Claims and Unjust Enrichment
                                  11             Altria argues that there are additional reasons why the UCL and unjust enrichment claims

                                  12   should be dismissed. First, Altria complains that the captions in the IPP complaint for the UCL
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                                  13   claims ask for “damages,” but only restitution is available. However, the paragraphs under each

                                  14   UCL claim accurately identify restitution (not damages) as the relief sought. IPP CAC ¶¶ 258,

                                  15   263.

                                  16             Second, Altria argues that the UCL and unjust enrichment claims must be dismissed

                                  17   because plaintiffs have not alleged that Altria received any funds or other benefits from plaintiffs

                                  18   as a result of the alleged anticompetitive arrangement or JLI’s charging of supracompetitive

                                  19   prices. Altria contends that plaintiffs cannot allege this as plaintiffs’ CACs admit that Altria lost

                                  20   billions on its investment in JLI. But even though Altria may have written down the value of its

                                  21   33% ownership in JLI, how that devaluation occurred and what it means for Altria’s existing

                                  22   ownership in JLI remain facts in dispute. Moreover, the devaluation does not mean that Altria

                                  23   may not still be indirectly receiving funds from consumers due to JLI’s charging supracompetitive

                                  24   prices for its products. IPP ¶¶ 164-165, 263, 265-66; IRP ¶¶ 161-162, 233, 235, 237.24 This

                                  25
                                       23
                                  26      Altria admits that Rhode Island has not decided how closely its consumer protection claim
                                       adheres to conclusions reached on the federal antitrust claims, but argues that because Rhode
                                  27   Island’s consumer protection law is similar to the other states (here, California, Florida, and
                                       Massachusetts) Rhode Island courts likely follow suit.
                                  28   24
                                            Altria relies on Fenerjian v. Nongshim Co., Ltd, 72 F. Supp. 3d 1058 (N.D. Cal. 2014) to argue
                                                                                          39
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                                   1   argument fails.

                                   2          Third, Altria contends that because these plaintiffs have an adequate remedy at law, they

                                   3   cannot proceed on the UCL claim or on the unjust enrichment claim under California,

                                   4   Massachusetts, Michigan or New York law. See Sonner v. Premier Nutrition Corp., 971 F.3d 834

                                   5   (9th Cir. 2020). At this juncture, plaintiffs are given leave to amend to allege that their remedies

                                   6   at law are inadequate to preserve their UCL claim. See, e.g., In re JUUL Labs, Inc., Mktg., Sales

                                   7   Practices, and Products Liab. Litig., 497 F. Supp. 3d 552, 638–39 (N.D. Cal. 2020) (“[P]laintiffs

                                   8   are given leave to amend to expressly allege that their remedies at law are inadequate and to

                                   9   support their claim to equitable restitution under the UCL and FAL” and noting that hurdle was

                                  10   likely to be cleared given “the allegations regarding unfair conduct are not otherwise coextensive

                                  11   with plaintiffs’ legal claims and given the preliminary stage of these proceedings”). As with the

                                  12   UCL claim, plaintiffs are given leave to amend to expressly allege and provide context to their
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                                  13   allegations that their remedies at law are inadequate under California, Massachusetts, Michigan,

                                  14   and New York law to preserve their unjust enrichment claims under California, Massachusetts,

                                  15   Michigan, and New York law.

                                  16          Accordingly, Altria’s motion to dismiss the UCL and unjust enrichment claims under

                                  17   California, Massachusetts, Michigan, and New York law is GRANTED with leave to amend so

                                  18   that plaintiffs can allege that their remedies at law are inadequate.25

                                  19                     3.   Service of IPP Complaints of Larimore, Matshullat, and May
                                  20          Altria contends that three IPP plaintiffs – Larimore, Matshullat, and May – had not (at the

                                  21

                                  22
                                       that the unjust enrichment claims under Michigan and New York law must be dismissed. There, I
                                  23   concluded – after full briefing under various states’ laws – that “the transactions and relationships
                                       between the indirect purchaser plaintiffs and the defendants are too attenuated to state an unjust
                                  24   enrichment claim under” either Michigan law or New York law. Id. at 1088, 1090. That may be
                                       the result here as well, but absent direct and full briefing on cases under these states’ laws – that
                                  25   Altria does not provide – I will not separately consider this argument now. Nor will I address
                                       arguments and cases raised only in reply. See, e.g., Altria Reply at 27 (relying on In re Suboxone
                                  26   (Buprenorphine Hydrochloride and Naloxone) Antitrust Litig., 64 F. Supp. 3d 665, 705 (E.D. Pa.
                                       2014) (addressing unjust enrichment claims under Florida law).
                                  27   25
                                          To the extent that plaintiffs want to add additional allegations regarding how Altria benefitted
                                  28   from JLI’s charging consumers supracompetitive prices for its products, they may do so.

                                                                                         40
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                                   1   time Altria filed its motion to dismiss) served Altria. It argues that this failure is significant

                                   2   because these IPPs are the sole representatives for some of the IPP claims. It asserts that there is

                                   3   no good cause that could forgive this failure, and says in reply that the service of the IPP

                                   4   Consolidated Class Action Complaint (that occurred after Altria’s motion was filed) does not cure

                                   5   the issue as Pretrial Order No. 1 in this case provides that filing a consolidated complaint does not,

                                   6   on its own, join a party to this action. ECF No. 129 at 2.

                                   7           In response, plaintiffs argue that they had a good faith belief that defendants would not

                                   8   raise a defense based on service, but they acknowledge they must have misunderstood the parties’

                                   9   agreement. Declaration of Thomas H. Burt, Dkt. No. 227-1. Nonetheless, they contend that Altria

                                  10   has not suffered any cognizable harm. Altria knows all of the facts on which the IPP claims are

                                  11   based. Given the service of the IPP CAC, it likewise knows the basis of these three IPPs’ claims.

                                  12           There is no cognizable prejudice to Altria. The three IPPs are given leave to serve their
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                                  13   original complaints on Altria at the same time the IPPs serve their Amended Consolidated Class

                                  14   Action Complaints as required by this Order.

                                  15                   4.      Personal Jurisdiction over Altria on state law claims26
                                  16           Altria argues that even if the court has jurisdiction over Altria on the federal law claims, it

                                  17   lacks that jurisdiction for the state law claims. Plaintiffs respond that because the federal claims

                                  18   survive, as discussed above, pendent jurisdiction exists over the state law claims despite Altria’s

                                  19   argument that pendant jurisdiction was overruled by Bristol-Myers Squibb Co. v. Super. Ct. of

                                  20   California, San Francisco County, 137 S. Ct. 1773 (2017). See, e.g., Chavez v. Stellar

                                  21   Management Group VII, LLC, 19-CV-01353-JCS, 2020 WL 4505482, at *8 (N.D. Cal. Aug. 5,

                                  22   2020) (exercising pendant jurisdiction because “Bristol-Myers does not apply to federal courts and

                                  23   federal laws”); see also Contl. Automotive Sys., Inc. v. Avanci, LLC, 19-CV-02520-LHK, 2019

                                  24   WL 6735604, at *8 (N.D. Cal. Dec. 11, 2019) (“because the doctrine of pendant personal

                                  25   jurisdiction authorizes personal jurisdiction over Plaintiff’s state law claims. Pendent personal

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                                       26
                                  27     Altria raises two arguments, foreclosed by Ninth Circuit precedent, for purposes of preserving
                                       them on appeal: that venue is not appropriate here under the Clayton Act and that this court does
                                  28   not have personal jurisdiction over Altria under the federal claims. Altria Mot. at 45-46. The
                                       motion is DENIED on those arguments, and they are preserved for appeal.
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                                   1   jurisdiction is commonly applied where, as here, ‘one or more federal claims for which there is

                                   2   nationwide personal jurisdiction are combined in the same suit with one or more state or federal

                                   3   claims for which there is not nationwide personal jurisdiction.’”).

                                   4          Even if pendent jurisdiction were not available given the posture of this case, specific

                                   5   jurisdiction exists. Altria allegedly negotiated the anticompetitive Agreement with a California-

                                   6   based on company in part by attending meetings that took place in California. IRP CAC ¶¶ 83, 84,

                                   7   91, 94, 221; IPP CAC ¶¶ 86, 87, 94, 97, 224; DPP CAC ¶¶ 79, 87. It is that anticompetitive

                                   8   Agreement that caused the plaintiffs’ harm. There is jurisdiction over Altria. See also In re JUUL

                                   9   Labs, Inc., Mktg. Sales Prac. and Products Liab. Litig., 19-MD-02913-WHO, 2021 WL 3112460,

                                  10   at *21 (N.D. Cal. July 22, 2021).

                                  11   III.   REQUEST FOR JUDICIAL NOTICE
                                  12          In support of its motion to dismiss, Altria asks me to take judicial notice of fifteen exhibits,
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                                  13   nine under the doctrine of judicial notice (Exhibits 1-7, 9, 13) and six under the doctrine of

                                  14   incorporation by reference (Exhibits 8, 10-12, 14-15). Request for Judicial Notice, Dkt. No. 208.

                                  15   Plaintiffs oppose in part. Dkt. Nos. 233, 228. I take judicial notice of the existence of the

                                  16   regulatory publications (Exhibits 1-3, 6-7) for the fact that they were issued and the topics they

                                  17   covered, but I do not take judicial notice of the disputed facts regarding the impact those

                                  18   pronouncements had on any party. I decline to take judicial notice of the news articles and press

                                  19   releases (Exhibits 4-5, 9, 13). The contents of those publications are not relevant to my

                                  20   determination of the motions at issue.

                                  21          The exhibits Altria argues are incorporated by reference into the CACs are: letters and

                                  22   emails from JLI and Altria (Exs. 8, 10), the Service Agreement (Ex. 11), the October 2019 Wells

                                  23   Fargo Report (Ex. 12), the January 2020 Amendment to the Relationship Agreement (Ex. 14), and

                                  24   the February 2019 Wells Fargo Report (Ex. 15).

                                  25          The IPP and IRPs object to the incorporation by reference in whole of Exhibits 11 and 14

                                  26   (the Service Agreement and the Amendment), arguing that they are unauthenticated and

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                                   1   introduced only to suggest an alternate explanation for Altria’s conduct. Dkt. No. 228.27 I agree

                                   2   with Altria that these two segments of the alleged antitrust agreement are incorporated by

                                   3   reference by the repeated citation to them in the CACs. However, I cannot and do not resolve the

                                   4   parties’ disputes over what certain provisions in those documents mean. As noted above, the

                                   5   parties argue the provisions mean different things on their face or in the context of the other

                                   6   written and unwritten agreements and communications between the parties. Exhibits 8 and 10,

                                   7   correspondence between the parties, are likewise incorporated by reference, but are not considered

                                   8   to resolve the parties’ disputes over what the assertions and provisions in those communications

                                   9   mean.

                                  10           Exhibits 12 and 15, the Wells Fargo Reports, will not be incorporated by reference, except

                                  11   for the one chart specifically included in the CACs (from the October 2019 Report) and the chart

                                  12   the Indirect Plaintiffs thought they were including (from the February 2019 Report). The February
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                                  13   chart is mentioned only twice in the complaints. IPP CAC ¶ 48, IRP CAC ¶ 45 (“In a February

                                  14   11, 2019 presentation, an analyst at Wells Fargo Securities, LLC said that JUUL “re-ignited” the

                                  15   e-cigarette category and depicted its dominance in the following chart”). In other portions of their

                                  16   CACs, the indirect plaintiffs also cite an unspecified Wells Fargo report addressing market share,

                                  17   but plaintiffs assert that is a reference to the same exact information. See IPP CAC ¶ 151, IRP

                                  18   CAC ¶ 148 (“According to a Wells Fargo report on the tobacco industry based on Nielsen scanner

                                  19   data, JUUL had amassed a 72 percent market share by August 2018. Altria’s market share at that

                                  20   time was 8 percent.”); see also DPP CAC ¶ 136 (“According to a Wells Fargo report on the

                                  21   tobacco industry based on Nielsen scanner data, JLI had amassed a 72 percent market share by

                                  22   August of 2018. Altria’s market share at that time was 8 percent.”); ¶ 137 (“According to the same

                                  23   Wells Fargo report, Altria began withdrawing its products from the market in October 2018. By

                                  24   November, Altria’s market share had fallen to 4 percent, and JLI’s had grown to over 75

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                                       27
                                  27      The DPPs object to incorporation of reference for each of these because defendants allegedly
                                       rely on them only to present their own “version” or gloss on the contents to support their
                                  28   arguments, which is improper. Dkt. No. 233.

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                                        Case 3:20-cv-02345-WHO Document 270 Filed 08/19/21 Page 44 of 45




                                   1   percent.”).28

                                   2          At most, therefore, the two charts and the explanatory language is subject to incorporation

                                   3   by reference.29 Any other chart or information calling into question the same specific topic from

                                   4   the same reports might possibly fall within the incorporation by reference doctrine but defendants

                                   5   do not identify any other chart or information in the Reports that would meet those criteria. The

                                   6   incorporation by reference doctrine cannot be stretched to include the full and varied contents of

                                   7   both Reports, prepared by a third-party and not adequately authenticated, whose conclusions are

                                   8   disputed by the parties.

                                   9                                              CONCLUSION

                                  10          The motion to compel the three named Direct Purchaser Plaintiff claims against JLI and

                                  11   the Director Defendants is GRANTED. The effect of this Order is stayed for thirty (30) days to

                                  12   allow the DPPs to substitute in a class representative whose claims against JLI and the Director
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                                  13   Defendants would not be subject to arbitration and for the DPPs to notify me whether they want

                                  14   these claims dismissed or stayed pending arbitration.

                                  15          Plaintiffs’ claims for injunctive relief are DISMISSED, but plaintiffs are given leave to

                                  16   amend to identify and include allegations that some or all of the named plaintiffs may suffer future

                                  17   injury to support the claims for injunctive relief.

                                  18          The UCL claim and state unjust enrichment claims under California, Massachusetts,

                                  19   Michigan or New York law are DISMISSED, but plaintiffs are given leave to amend to plead that

                                  20   their remedies at law are inadequate.

                                  21          The DPPs’ claim for injunctive relief against the Director Defendants is DISMISSED with

                                  22   prejudice. The DPPs’ Section 7 claim against the Director Defendants is DISMISSED with

                                  23   prejudice.

                                  24          Defendants’ motions are otherwise DENIED.

                                  25
                                       28
                                  26     The indirect plaintiffs explain they mistakenly included the chart from the Wells Fargo October
                                       15, 2019 analyst report (Ex. 12) in their CACs but intended to include and referred to a chart from
                                  27   the referenced Wells Fargo February 11, 2019 analyst report (Ex. 15). Dkt. No. 228 at 7 n. 3.

                                  28
                                       29
                                         As noted above, however, these charts do not fatally undermine the adequacy of plaintiffs’
                                       antitrust injury allegations.
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                                   1           Plaintiffs shall file their amended Consolidated Class Action Complaints by September 20,

                                   2   2021.

                                   3   Dated: August 19, 2021

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                                                                                                  William H. Orrick
                                   6                                                              United States District Judge
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